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 13
 14                       UNITED STATES DISTRICT COURT
 15                     CENTRAL DISTRICT OF CALIFORNIA
 16   TCL COMMUNICATION                      Case No. 8:14-CV-00341 JVS-DFMx
      TECHNOLOGY HOLDINGS,                   Case No. 2:15-CV-02370 JVS-DFMx
 17   LTD., et al.,
                                             CORRECTED REBUTTAL WITNESS
 18    Plaintiffs/Counterclaim-Defendants,   STATEMENT BY MATS SÅGFORS
 19         v.                               Hon. James V. Selna
 20   TELEFONAKTIEBOLAGET LM                 Place: Courtroom 10C
      ERICSSON, et al.,
 21
       Defendants/Counterclaim-Plaintiffs.   Discovery Cut-off: May 23, 2016
 22
      ERICSSON INC., et al.,                 Pretrial Conference: February 1, 2017 at
 23                                          10:00 a.m.
       Plaintiffs/Counterclaim-Defendants,
 24                                          Trial: February 14, 2017 at 8:30 a.m.
            v.
 25
      TCL COMMUNICATION
 26   TECHNOLOGY HOLDINGS,
      LTD., et al.,
 27
       Defendants/Counterclaim-Plaintiffs.
 28
                                                  CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
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  1           My name is Mats Sågfors. I have personal knowledge of the facts set forth in
  2   this Declaration, and declare under penalty of perjury and the laws of the United
  3   States of America that they are true and correct.
  4   I.      INTRODUCTION
  5           1.     I am a technical expert within Ericsson’s IPR (Intellectual Property
  6   Rights) & Licensing group. I have expertise in cellular technologies and their
  7   corresponding standards, particularly the 3G and 4G standards. I have several years
  8   of experience in research and development of cellular technologies, in 3GPP
  9   standardization, in patent analysis and technical negotiations, and I am an inventor
 10   of many patents and patent applications.
 11           2.     I have been asked to provide testimony regarding various issues with
 12   Dr. Kakaes’s methodology, opinions, and analysis of Ericsson’s standard essential
 13   patents. More specifically, I have been asked to respond to various criticisms and
 14   essentiality rankings made by Dr. Kakaes for a subset of Ericsson’s 2G, 3G and 4G
 15   claim charts provided to TCL as part of this case. I have also been asked to respond
 16   to Dr. Kakaes’s suggestion that Ericsson’s essential patents are “modular” in nature
 17   and solve “modular problems,” such that replacing these technical solutions would
 18   not affect other portions of the standard.1
 19           3.     In particular, I reviewed Dr. Kakaes’s essentiality analysis for 70 of
 20   Ericsson’s claim charted patent families. Of those 70 patent families, Dr. Kakaes
 21   found 45 of them to include essential patent claims TCL’s standard-compliant
 22   products would therefore infringe. Another 2 families are either not considered by
 23   Dr. Kakaes or are irrelevant to Ericsson’s essential handset portfolio. This leaves 23
 24   patent families. Dr. Kakaes finds each of these 23 families to be non-essential, and I
 25   disagree. As I will explain in detail below, Dr. Kakaes’s incorrect conclusions are
 26   based, at least in part, on (1) an incorrect understanding of the claimed subject
 27   1
          See, e.g., Kakaes Opening Statement at ¶¶ 25, 86.
 28
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
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  1   matter, including improper claim constructions or interpretations; and (2) a
  2   misapprehension of how the 2G, 3G, and/or 4G standards operate.
  3         4.     I also respond to Dr. Kakaes’s opinion that the 2G, 3G, and 4G cellular
  4   standards are “modular.” I disagree with Dr. Kakaes’s assumption that each patent
  5   can be analyzed separately by identifying an alternative solution to each patent, and
  6   comparing that alternative to the patented solution without consideration for how
  7   the replacement may affect the system otherwise, or other patented solutions within
  8   Ericsson’s patent portfolio. The cellular standards are not modular, and I describe
  9   some examples to illustrate that point. First, I describe how Dr. Kakaes’s
 10   alternatives to P10867, P11899, and P24916 highlight how interconnected and
 11   interrelated the technology is. Second, I describe how Dr. Kakaes’s alternatives to
 12   P06203, P11451, and P23563 actually conflict with one another.
 13   II.   BACKGROUND
 14         A.     Technical Qualifications
 15         5.     In 1993 I received a Master of Science degree in engineering from
 16   Åbo Akademi University in Finland. As part of that degree, I received instruction in
 17   computer science, programming, applied physics, and electronics. As a part of my
 18   master’s studies in 1990 and 1991, I also studied at Sheffield University, where I
 19   attended courses of a master’s program in Control Engineering that included, for
 20   example, systems modelling and simulation, signal processing, optimal control, and
 21   robotics.
 22         6.     I also received a PhD with honours in Control Theory from Åbo
 23   Akademi University in Finland in 1998. My thesis focused on the control of
 24   sampled-data systems and the theory of optimal control of such discrete time-
 25   systems.
 26         B.     Industry and Legal Experience
 27         7.     After receiving my PhD in 1998, I held positions in product
 28   development for Ericsson’s first 3G radio access products from 1998 to 2002. My
                                                    CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
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  1   initial assignment was to test and verify Ericsson’s pre-commercial 3G pilot system
  2   that Ericsson was demonstrating to its customers. The pilot system was used to
  3   evaluate the feasibility of 3G solutions that were later implemented in standard
  4   specifications and commercial 3G products. This practical, hands-on experience has
  5   proven to be very useful throughout my career.
  6           8.    After the completion of that project, I moved on to the system-design
  7   of Ericsson’s first commercial revision of 3G products, where I attained a role as a
  8   System Designer, and later as a System Expert. At the time, I was particularly
  9   focused on data transmission enhancements needed to efficiently transport packet
 10   traffic through cellular networks. During this time—in the early years of 2000’s—I
 11   also became an inventor of new technologies for the first time as a result of my
 12   work.
 13           9.    From 2002 to 2011, I held positions within Ericsson Research.
 14   Ericsson Research is the global research facility of Ericsson. While at Ericsson
 15   Research, I was first involved in researching improvements for the evolution of 3G.
 16   Our work resulted in improvements to both Ericsson’s 3G products and to the
 17   3GPP standard. I also contributed to Ericsson’s 4G concepts and standardization
 18   activities. Some of my research at Ericsson was published at scientific conferences,
 19   and I co-authored 10 conference publications while at Ericsson Research.
 20           10.   During the early phases of 4G standardization, I attended 3GPP
 21   meetings for the 3GPP RAN2 working group. At that time, my main field of focus
 22   was on control plane signaling, which relates to areas such as connection
 23   establishment and mobility. Within this field, I was responsible for coordinating
 24   Ericsson’s concept development and for developing and coordinating input to
 25   Ericsson’s 3GPP RAN2 standardization delegation.
 26           11.   I am an inventor on more than 400 granted patents and over 100
 27   currently-pending patent applications worldwide during my tenure at Ericsson. In
 28   2007 I was honored with Ericsson’s “Inventor of the Year” award for my inventions
                                                    CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
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  1   relating to packet data access, transport networks and for improvements in end-user
  2   perceived quality. Several of my inventions have been incorporated into the 3GPP
  3   specifications for the 3G and 4G standards.
  4         12.    In 2009, I began working as a part-time technical expert at Ericsson’s
  5   Intellectual Property Rights (“IPR”) and Licensing group, and in 2011 I joined the
  6   team on a full time basis. My current work has a strong focus on our 4G portfolio,
  7   and I have participated in many technical negotiations with several major licensees.
  8   My work also includes analyzing the patents other companies believe Ericsson
  9   needs a license to. I have also provided technical support in litigation matters, both
 10   when Ericsson has been the plaintiff, and when Ericsson or Ericsson’s customers
 11   have been accused of patent infringement.
 12         13.    Since joining Ericsson’s IPR and Licensing group in 2011, I have
 13   gained significant experience analyzing, drafting, and responding to claim charts. I
 14   have personally analyzed many of Ericsson’s 2G, 3G, and 4G essential patents,
 15   including many of those provided to TCL as part of this litigation. Over the past
 16   five years I have analyzed hundreds of other patent claim charts to determine
 17   essentiality, infringement, and validity of Ericsson’s and other’s patents. As part of
 18   this process, I have analyzed and addressed the merit of others’ positions regarding
 19   Ericsson’s claim charts and patent portfolios, and have provided portfolio strength
 20   assessments to Ericsson’s licensing managers as technical discussions have
 21   concluded.
 22         14.    I also have significant licensing negotiation experience. I have
 23   presented patents from Ericsson’s 3G and 4G patent portfolio, including the
 24   exchange and evaluation of claim charts, in technical licensing discussions with
 25   several companies. I have directly participated in technical licensing discussions
 26   with several companies, including Apple, Samsung, Huawei, ZTE, Kyocera,
 27   SHARP, and Fujitsu, among others. During licensing discussions, the potential
 28   licensee will often ask questions or provide comments about Ericsson’s claim
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
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  1   charts. I have spent significant time responding to these questions and comments,
  2   along with other engineers and lawyers at Ericsson, including Mr. Luke McLeroy,
  3   Mr. Todd Cason, Ms. Evelyn Chen, Mr. Patricio Delgado, and Dr. Stefan Bruhn,
  4   among others. I have also interfaced with Ericsson inventors, researchers, product
  5   development engineers, and outside counsel on these issues from time to time over
  6   the past five years. During discussions, I also work with engineers and lawyers—
  7   both inside and outside of Ericsson—to analyze other companies’ patent assertions
  8   against Ericsson that occur during licensing discussions, often providing detailed
  9   questions and comments to the other company.
 10         15.    I also have gained an understanding of several legal concepts relevant
 11   to this case from my time at Ericsson. While working in Ericsson’s Research Unit,
 12   I co-authored many patent applications, and gained experience on the requirements
 13   for patent drafting and on the patent prosecution process. Since joining the IPR and
 14   Licensing group, I have gained relevant experience through the technical
 15   negotiations I have been involved in, and through my work with many experienced
 16   patent attorneys. I have helped draft and review claim charts, and am comfortable
 17   applying the legal infringement and invalidity rules my attorney colleagues provide
 18   when analyzing patents. I have also been involved in analysis and technical support
 19   in litigation matters, including litigations with Apple in both the U.S. and Europe;
 20   and litigations with Samsung, Micromax, Lava, and Xiaomi both in the U.S. and in
 21   other countries.
 22         C.     Person of Ordinary Skill in the Art
 23         16.    I understand that TCL’s experts have indicated a person of ordinary
 24   skill in the art would have (1) a bachelor’s degree in electrical engineering or
 25   computer science or a related field, with one or two years of relevant industry
 26   experience; or (2) a masters degree in electrical engineering or computer science or
 27   a related field. Dr. Ding explained that the relevant industry experience would be
 28   “working in the wireless industry or working on patent analysis or subjects that are
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
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  1   related to cellular wireless communications.”2 Dr. Kakaes also believes that a
  2   person of ordinary skill in the art would have a working understanding of cellular
  3   transmission protocols.3 Both Dr. Kakaes and Dr. Ding suggest that legal training is
  4   not a necessary component of the qualifications for a person or ordinary skill in the
  5   art. As detailed above, I more than exceed the qualifications of a person of ordinary
  6   skill in the art according to TCL’s experts. I have an engineering PhD, and have
  7   worked on patent litigation issues since 2011. I have many years of technical patent
  8   analysis experience from my licensing negotiation and litigation experience at
  9   Ericsson.
 10   III.    RESPONSE TO DR. KAKAES ESSENTIALITY OPINIONS
 11           17.   I reviewed Dr. Kakaes’s opinions regarding his essentiality findings
 12   for certain of Ericsson’s claim charts produced during the course of this litigation.
 13   As is explained in further detail below, and by my colleagues, Ericsson’s claim
 14   charts are the result of a rigorous analysis by experienced engineers, including
 15   engineers with law degrees, and are vetted by both engineers and attorneys before
 16   they are shared with other companies. Further, many of these claim charts are
 17   scrutinized by other companies in licensing discussions. This iterative process
 18   ensures that the claim charts we present to licensees such as TCL present
 19   thoroughly analyzed evidence of the strength of Ericsson’s portfolio of standard-
 20   essential patents.
 21           18.   For purposes of my testimony in this case, I reviewed Dr. Kakaes’s
 22   opinions on essentiality for 70 of Ericsson’s claim charted families. I found that Dr.
 23   Kakaes made a number of errors in his analysis. As in a typical licensing context, I
 24   analyzed Dr. Kakaes’s opinions with support from other experienced
 25   telecommunications engineers, researchers, inventors, and patent professionals.
 26
      2
          Ding Dep. Tr. at 16:17-17:1.
 27   3
          Kakaes Opening Statement at ¶ 109.
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
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  1         19.    Below I will first discuss the 45 patent families for which Dr. Kakaes
  2   does not dispute essentiality, followed by cases where Dr. Kakaes analyzed a chart
  3   irrelevant to Ericsson’s handset essential patent portfolio. Finally, I will discuss in
  4   detail the reasons why I disagree with Dr. Kakaes for the 23 remaining families of
  5   the 70 I was responsible for.
  6         A.     Patent Families Where Dr. Kakaes Does Not Dispute Essentiality
  7         20.    Unsurprisingly, Dr. Kakaes does not dispute the essentiality of all of
  8   Ericsson’s claim charted patents. In fact, for many of them Dr. Kakaes has seen no
  9   evidence to dispute the essentiality. For the 70 families I reviewed, Dr. Kakaes does
 10   not dispute that the following 45 Ericsson families are, indeed, essential: P06203,
 11   P11451, P11899, P12207, P14596, P14897, P15300, P17631, P18216, P18674,
 12   P19208, P21738, P22621, P23412, P23682, P24000, P24241, P24698, P24916,
 13   P24985, P25238, P25336, P25476, P25496, P25642, P25658, P25999, P26030,
 14   P26132, P26261, P26379, P26744, P27172, P28235, P28627, P28747, P29465,
 15   P30749, P31189, P31755, P31923, P32787, P32817, P34406, P37869. For one
 16   additional patent family, Dr. Kakaes provided no comments on Ericsson’s claim
 17   chart: P25958. Therefore, I assume that Dr. Kakaes does not contest that this patent
 18   family is essential to the 3G standard. These 45 families cover a number of different
 19   technological advancements related to core portions of the 3G and 4G standards,
 20   including, but not limited to random access, handover, ARQ and HARQ, system
 21   information distribution, security, quality of service support, connection control and
 22   reconfiguration, circuit switched fallback, scheduling requests, semi-persistent
 23   scheduling, carrier aggregation, minimization of drive tests, positioning and uplink
 24   sounding.
 25         B.     Patent Families Where Dr. Kakaes Analyzes Irrelevant Chart
 26         21.    In a number of cases, Dr. Kakaes reviewed a claim chart that is not
 27   relevant to the licensing dispute between Ericsson and TCL. More specifically, Dr.
 28   Kakaes reviewed and offered opinions that some of Ericsson’s base station or
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
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  1   network patents were not essential because they do not relate to handset (e.g., user
  2   equipment) functionality. However, just because the patent claims charted in
  3   Ericsson’s network charts are not “used” by a handset does not mean they are not
  4   essential. They are absolutely essential to the base station or other parts of the
  5   network. In any event, Dr. Kakaes’s rankings of these base station patents are
  6   therefore not relevant to a license between Ericsson and a handset maker like TCL.
  7   Dr. Kakaes appears to use this as a way to artificially cast doubt on the essentiality
  8   of Ericsson’s patents.
  9         22.    Out of the 70 patent families I reviewed, Dr. Kakaes makes this
 10   mistake for the following 17 patent families: P07567, P09632, P11451, P15300,
 11   P18674, P21738, P23412, P23563, P24241, P24698, P25496, P25642, P25658,
 12   P28627, P29465, P29482, and P31923. In fact, of these 17 patent families, the
 13   following 13 Dr. Kakaes concedes he has seen no evidence to contest that at least
 14   one claim of the patent was essential and required also by handsets: P11451,
 15   P15300, P18674, P21738, P23412, P24241, P24698, P25496, P25642, P25658,
 16   P28627, P29465and P31923.
 17         C.     Patent Families Where Dr. Kakaes and I Disagree on Essentiality
 18         23.    For the remaining 23 families that I reviewed (P06691, P06697,
 19   P07567, P08575, P08769, P09040, P10867, P11289, P13459, P21428, P21787,
 20   P22430, P23034, P23563, P23985, P24557, P25005, P25949, P25990, P27011,
 21   P29482, P32205, P33858), I disagree with Dr. Kakaes on his essentiality findings.
 22   Below, I discuss each patent family and Dr. Kakaes’s mistakes in detail.
 23                1.     P06691
 24         24.    The first patent family I will is discuss is the P06691 patent family. It
 25   relates to discontinuous reception (DRX) in the handset. Having support for DRX
 26   in a handset is vital in order to save battery power and thereby to improve the
 27   operational time of the handset. DRX means, for example, that the handset and
 28   network may negotiate time periods during which data transfer may occur (“awake
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
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  1   mode”). During other times, the handset’s receiver is intermittently switched off to
  2   save power. This can be considered a “sleep mode” during which a handset is not
  3   actively communicating with the base station.
  4           25.   Achieving a good balance between battery performance and response
  5   time of a handset is a difficult problem, however. To provide fast response times, it
  6   is desirable to stay awake and continuously listen for any commands or data from
  7   the base station; however, this is not an efficient use of mobile power. P06691
  8   therefore claims an elegant solution where the handset stays awake for a
  9   predetermined time, which is set by an activity timer, before going to a sleep mode.
 10   This helps to achieve an effective balance of fast response time and minimized
 11   power consumption, as the likelihood that the handset receives another packet is
 12   high right after a previous transmission. The network must also know for which
 13   time-slots that the handset is listening, and when it is asleep, as the network needs
 14   to know when it can reach the handset, and when the handset is not receiving any
 15   commands or data.
 16           26.   Ericsson provided a claim chart to TCL that outlines precisely where
 17   the claimed elements of claim 1 of U.S. 5,806,007 are practiced by the 2G and 4G
 18   standards.4 Dr. Kakaes disputes that the P06691 patent family is essential to 2G and
 19   4G, making a variety of mistakes that I explain below.
 20           27.   For 2G, Dr. Kakaes makes two arguments for non-essentiality of claim
 21   1 of U.S. 5,806,007 of the P06691 family. He alleges that Ericsson has incorrectly
 22   construed the claim language, and that Ericsson fails to show how the 2G standard
 23   meets the construed claim language as shown below in an excerpt from his
 24   appendix:
 25
 26
 27   4
          EX-352; EX-4393.
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
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                                  #:96367


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 13           28.   Dr. Kakaes is incorrect in his argument that Ericsson incorrectly
 14   construes the claim language. This element was introduced during prosecution to
 15   further distinguish the claimed invention from known prior art (US 5,491,718).6
 16   Ericsson therefore properly looks to the prosecution history to determine the
 17   meaning of the claim element of “substantially independent of communication
 18   system operation requirements.” In the prior art ʼ718 patent, a different timer was
 19   set periodically in relation to the paging instances. Thus, Ericsson distinguished its
 20   patent claims by stating that they do not cover a timer that is dependent on paging
 21   instances. As a result, the timer claimed in Ericsson’s patent (i.e., a timer having “a
 22   period which is variable substantially independent of communication system
 23   operation requirements") should be interpreted to include any timer having a period
 24   that is not set based "substantially" on the paging channel structure.
 25           29.   As further evidence that Ericsson’s claim interpretation is correct, the
 26
      5
          Kakaes Opening Statement Appendix, EX-1639 at A-P06691_2G.
 27   6
          EX-4392.
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -10-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
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  1   prosecution history of US 5,806,007 shows that the phrase "variable substantially
  2   independent of communication system operation requirements" was added by way
  3   of amendment on January 26, 1998 to overcome a rejection based on U.S. Patent
  4   5,491,718. Specifically, the Examiner referred to column 6, lines 18-44 of the '718
  5   patent in making the rejection. This section of the '718 patent describes setting the
  6   timer causing the handset to turn on the receiver circuitry "equal or less than
  7   approximately 100 msec before the start of the next paging channel slot".7
  8   Therefore, the '718 patent bases its timer period on the paging channel structure of
  9   the particular system of interest. And the proper interpretation of Ericsson’s timer,
 10   is one that is substantially independent of the paging channel structure as recited in
 11   Ericsson’s claim chart.
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 23           30.   The picture above shows Ericsson’s patented solution above, wherein
 24   a timer (indicated as “T” and “drxInactivityTimer”) is started to keep the handset in
 25   “active” state after being engaged in transmission/reception. The handset leaves the
 26   active state when the timer expires. In contrast, the prior-art solution underneath
 27   7
          EX-5413; EX-4392 (U.S. 5,491,718) at 6:14-24.
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -11-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
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  1   shows the solution of US ´718 where a timer is implemented to govern that the
  2   handset wakes up at point “B”, just before the start of the next paging slot.
  3           31.   Dr. Kakaes’s second argument stating that Ericsson did not point to
  4   anything in the 2G standard that meets this claim element is also incorrect.
  5   Ericsson’s claim chart does indeed point to the part of the 2G standard that meets
  6   this limitation. The claimed “timer” is the 2G standard’s “non-DRX timer” as
  7   shown below:
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 16           32.   As shown in the “comment” portion at the bottom of Ericsson’s chart,
 17   Ericsson explicitly states that the non-DRX timer is the claimed timer. Ericsson
 18   also shows that the claimed “period which is variable substantially independent of
 19   communication system operation requirements” corresponds to the conditional non-
 20   DRX timer parameter. The conditional parameter is substantially independent of the
 21   paging periodicity because it is based on “a conditional parameter for MSs using
 22   DRX to determine the time period within which the non-DRX mode is kept after
 23   leaving the Transfer state” as the 2G standard clearly states. When the non-DRX
 24   timer expires, the MS (Mobile Station) goes into DRX where the MS then reads
 25   assigned and periodically occurring paging slots, as the claim requires. The non-
 26   DRX timer is not started for governing the reading of the paging slots and its period
 27   8
          EX-5072; EX-5415 (TS 03.64 V8.12.0).
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -12-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 16 of 132 Page ID
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  1   is independent of paging periodicity. Thus, Ericsson’s claim interpretation is correct
  2   as supported by the prosecution history, and Ericsson does in fact show how the
  3   disputed claim element is met by the 2G standard. Dr. Kakaes’s arguments are
  4   wrong.
  5           33.   For 4G, Dr. Kakaes’s arguments are nearly identical to his arguments
  6   for 2G. He first argues that Ericsson’s claim interpretation for the same claim
  7   element is incorrect, and second that Ericsson fails to show anything in the 4G
  8   standard that meets this limitation as shown below in an excerpt from Dr. Kakaes’s
  9   appendix:
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 25           34.   First, and as noted above, the claim limitation “having a period which
 26   is variable substantially independent of communication system operation
 27   9
          Kakaes Opening Statement Appendix, EX-1639 at A-P06691_4G.
 28
                                                    CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -13-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
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                                  #:96371


  1   requirements” was introduced during patent prosecution to limit the scope of the
  2   claim from a piece of prior art where a timer is set based on the paging channel
  3   structure. The timer in that prior art was having a period dependent on the paging
  4   period, which the claimed timer does not have.
  5         35.    Second, Dr. Kakaes is correct that the handset is sometimes
  6   understood as being a part of the communication system. However, his alleged
  7   “distinction” is irrelevant. While paging periodicities are system-wide parameters,
  8   the “drx-InactivityTimer” in the 4G standard can be set independent of such
  9   “communication system operation requirements”, i.e. the “drx-InactivityTimer” can
 10   be set to achieve the desired balance between fast response time and minimized
 11   power consumption of the handset itself. The claim scope does not include a timer
 12   whose timer period is dependent on the paging channel structure, as set forth in the
 13   prior art cited by the examiner. It is clear that the relevant timer in 4G, cited in the
 14   claim chart, has nothing to do with the paging channel structure, and therefore falls
 15   under the scope of the claim element.
 16         36.    Finally, as above, Ericsson’s claim chart does point to what it believes
 17   meets the disputed “timer” claim element. As shown below in Ericsson’s claim
 18   chart, the claimed timer is the 4G standard’s “drx-InactivityTimer” shown in the
 19   MAC description box toward the bottom of the chart.
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 28
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -14-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
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                                  #:96372


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 16           37.   As shown in the “comment” portion at the bottom of Ericsson’s chart,
 17   Ericsson explicitly states that the drx-InactivityTimer is the claimed timer. Ericsson
 18   also shows that the claimed “period which is variable substantially independent of
 19   communication system operation requirements” corresponds to the provision of the
 20   different specified timer periods and/or a decision to vary the period of one or more
 21   timers from one specified value to another specified value that will be based
 22   primarily on handset requirements and not system operating requirements. Thus,
 23   Ericsson’s claim interpretation is correct as supported by the prosecution history,
 24   and Ericsson does in fact show how the disputed claim element is met by the 4G
 25   standard. Dr. Kakaes’s arguments are wrong. Ericsson’s P06691 family is essential
 26   to the 2G and 4G standards.
 27   10
           EX-5073; EX-5414 (TS 03.60 V7.4.0).
 28
                                                    CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -15-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
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                                  #:96373


  1                   2.    P06697
  2           38.     The second patent family I will discuss is the P06697 patent family
  3   and includes U.S. 5,910,949.11 It relates to a way to improve efficiency of the
  4   system by interrupting one handset’s transmission in order to allow a different
  5   handset to send/receive data. One reason to do this is if collisions occur when the
  6   handsets are trying to access the network when requesting resources. When a
  7   handset first tries to access the network, it uses the Random Access Channel
  8   (“RACH”). The RACH is shared by many handsets and consequently, collisions
  9   and/or overload may occur when multiple handsets are trying to access the network
 10   simultaneously. As a result, it is likely that two or more handsets will send data in
 11   the same time slot using the same resources to the same base station causing a
 12   collision.
 13           39.     The patented technology is used for relieving random access collisions
 14   in an efficient manner. More specifically, it interrupts the communications of
 15   handsets that are not granted transmission resources with an “interruption period”
 16   so that other handsets that are granted access can send/receive data. This is
 17   accomplished by sending information to the handsets that are not granted access so
 18   that they will interrupt their intended transmissions for a certain “interruption
 19   period.” Once the interruption period is over, these handsets can then re-try to
 20   access the network for transmitting data.
 21           40.     Ericsson provided a claim chart to TCL that outlines precisely where
 22   the claimed elements of claim 1 of U.S. 5,910,949 are practiced by the 4G
 23   standard.12 Dr. Kakaes disputes that the P06697 patent family is essential to 4G,
 24   making a variety of mistakes that I explain below.
 25           41.     First, Dr. Kakaes states that the “inserting” and “transmitting” claim
 26
      11
           EX-4427.
 27   12
           EX-355.
 28
                                                       CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                              -16-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 20 of 132 Page ID
                                  #:96374


  1   elements are not implemented at the handset, and that TCL does not “direct or
  2   control any other parties to perform the above limitation.” However, I understand
  3   from my colleague, Evelyn Chen, that the “directs or controls” test that Dr. Kakaes
  4   relies upon is not the only criteria to prove that one party can be held responsible
  5   for direct infringement for the actions of others. As a result, just because the
  6   identified claim is not entirely practiced at the handset, does not mean that TCL is
  7   not enjoying the benefits realized by the claimed invention as explained by Ms.
  8   Chen.
  9           42.   In his second argument, Dr. Kakaes states that the “interrupting” claim
 10   element is not practiced by the 4G standard as shown in his appendix below:
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 24           43.   Dr. Kakaes argues that the “Backoff Indicator” of the 4G standard
 25   does not meet the “interrupting” limitation because “a transmission has to pre-exist
 26   in order for it to be interrupted.” This is not correct. For example, when the
 27   13
           Kakaes Opening Statement Appendix, EX-1639 at A-P06697_4G.
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -17-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
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                                  #:96375


  1   Backoff Indicator is not present while the UE is expecting a Random Access
  2   Response, the handset will proceed with a new transmission according to a pre-
  3   defined schedule through the Random Access procedure. See Figure 10.1.5.1-1
  4   from TS 36.300,14 which depicts the situation when the handset does not receive the
  5   Backoff Indicator, and instead finds that it is successfully granted resources as
  6   requested in step 3 in the figure.
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 20           44.     Random Access Requests are used for, among other things, to request
 21   for packet data transmission resources. Thus, by definition, receiving the Backoff
 22   Indicator will interrupt and delay the packet data transmission, and the packet data
 23   transmission will occur later in comparison to the situation when the indicator is not
 24   received. As a result, the 4G standard practices “interrupting” as claimed in
 25   Ericsson’s P06697 family.
 26
      14
           EX-5418.
 27   15
           Id.
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -18-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 22 of 132 Page ID
                                  #:96376


  1           45.   Third, Dr. Kakaes argues that the 4G standard does not have an
  2   “interruption period” to be “selectively indicated by said interruption information”
  3   as required by the claim, and as shown in his appendix below:
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  9           46.   Dr. Kakaes seems to suggest that the claim term “indicated” cannot
 10   include a scenario where the handset receives interruption information used to
 11   calculate the interruption period; rather he appears to argue that the interruption
 12   period must be actually transmitted to the handset to meet the term “indicated.” Dr.
 13   Kakaes then concludes that the 4G standard does not meet the term “indicated”
 14   because the handset receives a “BI field” and uses the BI field to calculate the
 15   interruption period.
 16           47.   This is incorrect. As an initial matter, Dr. Kakaes has provided no
 17   support for his claim interpretation. And the claim language actually contradicts Dr.
 18   Kakaes’s conclusion. If the interruption period needed to be actually received by
 19   the handset (instead of calculated based on other received information), then the
 20   claim language would say so. For example, the claim would be written to say
 21   “receiving the control information for an interruption period included in said packet
 22   channel feedback information.” That is not what the claim element says. Instead, it
 23   recites “receiving the control information for an interruption period as selectively
 24   indicated by said interruption information included in said packet channel feedback
 25   information.” The underlined words have meaning, and that meaning is to allow
 26   for the handset to calculate the interruption period based in the interruption
 27   16
           Kakaes Opening Statement Appendix, EX-1639 at A-P06697_4G.
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -19-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 23 of 132 Page ID
                                  #:96377


  1   information. This is what Ericsson explains in its claim chart by showing that the
  2   handset receives “interruption information” in the “BI field,” where the value is
  3   selectively indicated with a value. The handset then calculates the required
  4   “interruption period” (backoff time) based on the received “interruption
  5   information.” I therefore disagree with Dr. Kakaes. Ericsson’s P06697 family is
  6   essential to the 4G standard.
  7                  3.    P07567
  8            48.   The third patent family is the P07567 patent family, and includes U.S.
  9   6,031,832. This patent family relates to a channel reservation solution that
 10   improves service quality and latency. At a high level, this technology relates to the
 11   procedures needed for fast resource allocation in advanced telecommunications
 12   systems.
 13            49.   As explained with the previous patent family, when handsets compete
 14   for use of the contention-based random access channel, their transmissions may
 15   sometimes collide. As a consequence, problems can occur as the handsets may
 16   experience highly variable packet transfer delays.17
 17            50.   The patented technology in this family relates to a way for reserving or
 18   allocating resources to a handset, allowing such handsets to make collision-free
 19   communications to the base station. This is important because it ensures that the
 20   base station can control the resources allocated and reserved for each handset,
 21   preserving quality throughout the network. The solution can also be used for
 22   reducing the load on the contention-based random access channel.
 23            51.   Ericsson provided a claim chart to TCL that outlines precisely where
 24   the claimed elements of claims 1 and 25 of U.S. 6,031,832 are practiced by the 4G
 25   standard.18 Dr. Kakaes disputes that the P07567 patent family is essential to 4G,
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      17
           See, e.g., EX-5419 (U.S. 6,031,832) at 3:1-21.
 27   18
           EX-5079.
 28
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -20-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
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                                  #:96378


  1   making a variety of mistakes that I explain below.
  2           52.   For claim 1 of U.S. 6,031,832 he says that the limitations of claim 1
  3   must be carried out by network products, not handsets. However, the chart for
  4   claim 1 does not apply to handsets, and Ericsson does not consider this chart to be
  5   part of its handset licensing portfolio. So Dr. Kakaes’s conclusions of essentiality
  6   are irrelevant. In addition, the fact that claim 1 is essential to a base station and not
  7   a handset does not mean that this patent is not essential.
  8           53.   Dr. Kakaes also concludes that claim 25 of U.S. 6,031,832 is not
  9   essential to the 4G standard. He makes 3 main arguments as shown below in his
 10   appendix:
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 19           54.   First, Dr. Kakaes appears to argue that the “first mobile terminal
 20   means” and “reservation means” are not practiced by a handset. Although unclear,
 21   it appears he argues these limitations are practiced by the network. This is wrong.
 22   “Mobile terminal means” is just that—a “means” or component within a mobile
 23   terminal (e.g., handset). The “reservation means” is likewise a component within
 24   the handset, and Dr. Kakaes has not suggested otherwise.
 25           55.   His second argument is that the “wherein” element is not practiced by
 26   the 4G standard when the term “exclusive use” is properly construed as shown
 27   19
           Kakaes Opening Statement Appendix, EX-1639 at A-P07567_4G.
 28
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                             -21-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
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                                  #:96379


  1   below in his appendix:
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 10         56.        He provides no support for what the proper construction should be,
 11   and he does not even state what the proper construction is. He nevertheless
 12   concludes that because the channels in 4G are “shared channels” (and are shared
 13   among users), the channels cannot be allocated for “exclusive use.”
 14         57.        Dr. Kakaes is incorrect. In 4G, the base station controls the resources
 15   that the handsets can use for transmitting data in the uplink. Since many handsets
 16   can be engaged in transmissions simultaneously, it is the responsibility of the base-
 17   station to ensure that handsets are not simultaneously transmitting on the same
 18   resources, as subdivided in time and/or frequency. Collisions caused by multiple
 19   transmitters on the same resources would corrupt the data because colliding
 20   transmissions would not be properly received by the receiver(s). The handset
 21   therefore has exclusive use of the shared channel as required by the claim,
 22   whenever it is allocated such resources on the shared channel. The name “Shared
 23   Channel” does not imply that a handset cannot have “exclusive use of” the channel,
 24   as Dr. Kakaes appears to contend.
 25         58.        Dr. Kakaes’s third argument is that the handset does not have
 26   “reserved uncontended access” when this phrase is properly construed. Again, he
 27         20
                 Id.
 28
                                                        CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                               -22-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
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  1   does not state what the proper construction is or why that is the proper construction.
  2   He simply concludes that the channel is not reserved as the claim requires, as
  3   shown below:
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 10         59.    Again, Dr. Kakaes misunderstands the operation of the 4G standard.
 11   Specific resources on the physical uplink control channel are configured separately
 12   to each handset and are not shared with other handsets (i.e., they are reserved).
 13         60.    This can be seen in 3GPP TS 36.300, section 5, as shown in Ericsson’s
 14   chart and below:
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 20         61.    The 4G standard specification makes clear that PUCCH resources
 21   (“dedicated SR channel” above), that is, space on the physical uplink control
 22   channel are assigned to handsets. This is exactly what the claim requires: “reserving
 23   uncontended access to said access channel.” The reservations on the PUCCH are
 24   allocated separately for each handset specifically to avoid contention.23
 25   21
         Id.
 26   22
         EX-5418.
 27   23
         See, e.g., EX-1416, Dahlman “4G: LTE/LTE-Advanced for Mobile Broadband”
      at p. 280.
 28
                                                    CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -23-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
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                                  #:96381


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 14         62.    Therefore, practicing the 4G standard includes methods by which
 15   handsets “reserve[] uncontended access” to access channels, as required by claim
 16   25. Dr. Kakaes is missing the point by focusing on the fact that channels are, in
 17   general, “shared channels.” While these channels are generally “shared” across the
 18   system, in 4G the channels carrying traffic are allocated for exclusive use to the
 19   handsets and handsets are reserved uncontended access to PUCCH, as can be seen
 20   in 3GPP TS 36.300, section 5 above. Therefore, the P07567 family is essential to
 21   4G.
 22                4.    P08575
 23         63.    The fourth patent family is the P08575 patent family and includes U.S.
 24   6,363,058 and IN 229,632. The P08575 patent family relates to how services with
 25   similar quality requirements can be flexibly combined into the same logical channel
 26   over the radio interface. This allows for efficient use of transmission resources
 27   while maintaining expected service quality.
 28         64.    The 3G standard enables users to simultaneously send and receive not
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -24-     CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
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  1   only speech, but also data, such as email, web pages, file transfers, and other data
  2   services. Different services can have different quality requirements. For example, a
  3   voice call has rather low flexibility in its requirements on the connection. In other
  4   words, that the handset (1) needs a connection that can offer a rather stable delay
  5   and bit-rate without significant interruptions to operate, and (2) has a higher
  6   tolerance for “losing” bits of data. In contrast, file transfers, for example, require a
  7   very low bit error rate (meaning, it cannot tolerate “losing” many bits; however, it
  8   may be acceptable to have larger variations in delay and bit-rate.
  9           65.   The patented technology solves this problem of processing multiple
 10   data services over a communications link between the handset and base station.
 11   Instead of using separate channels, or a channel that satisfies each data service’s
 12   requirements, the patented technology multiplexes data from services with
 13   substantially similar requirements onto the same logical channel. Each logical
 14   channel can then have different channel coding and/or interleaving depth. The
 15   number of data blocks per transmission block can vary, depending on the services
 16   the handset is using.
 17           66.   Ericsson provided a claim chart to TCL that outlines precisely where
 18   the claimed elements of claims 1 of both U.S. 6,363,058 and IN 229,632 are
 19   practiced by the 3G standard.24 Dr. Kakaes disputes that the P08575 patent family is
 20   essential to 3G, making a variety of mistakes that I explain below.
 21           67.   He makes 3 main arguments for non-essentiality that he says apply to
 22   both the U.S. and Indian patents in the P08575 family. These arguments revolve
 23   around these two claim elements: (1) “separating data within the radio bearer
 24   services into a plurality of portions” and (2) multiplexing portions from at least two
 25   of the plurality of radio bearer services having substantially similar Quality of
 26   Service requirements into transmission blocks of the single logical channel on the
 27   24
           EX-5081 and EX-5080.
 28
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -25-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
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  1   communications link, wherein a number of the portions per transmission block is
  2   variable.”
  3           68.   Dr. Kakaes’s first argument is that “separating data,” as required by
  4   the claims, does not correspond to the 3G standards “segmenting” of data, as can be
  5   seen below:
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 13
 14           69.   Dr. Kakaes does not explain why “segmenting” the upper layer PDU
 15   into smaller RLC PDUs is not “separating” the upper layer PDU, or supply any
 16   evidence to support this conclusion. In any event, Dr. Kakaes is incorrect and
 17   misunderstands the patent and the 3G standard. “Segmentation” corresponds to
 18   “separating data . . . into a plurality of portions”, as is evident from e.g. Figures 5
 19   and 6 of the patent, and as also shown in Ericsson’s claim charts. Below are figures
 20   5 and 6 of the patent, where one can see the user data being separated into a
 21   plurality of portions as required by the claims:
 22
 23
 24
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 27   25
           Kakaes Opening Statement Appendix, EX-1639 at A-P08575_3G.
 28
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -26-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 30 of 132 Page ID
                                  #:96384


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 22            70.   ‘058 patent at figs. 5, 6. This is also supported by the patent
 23   specification showing that this process (“separating”) corresponds to segmentation.
 24   More specifically, the specification states that “Layer 3 control/user data 140 is
 25   segmented into blocks 150 . . . to form a LLC PDU 160 at the LLC layer 30. The
 26   LLC PDUs 160 are segmented into smaller blocks, RLC/MAC PDUs 165 at the
 27   26
           EX-4395, U.S. 6,363,058 at Figures 5, 6.
 28
                                                        CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                             -27-     CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 31 of 132 Page ID
                                  #:96385


  1   RLC layer 35.”27
  2           71.   And in 3GPP TS 25.301 section 5, the following figure depicts the
  3   “segmentation” of user data according to the 3G standard:
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 16           72.   It can be seen even visually that the “segmentation” in the 3G standard
 17   is the “separating” claimed in Ericsson’s patents. Therefore, practicing the 3G
 18   standard requires this claim element.
 19           73.   Dr. Kakaes’s second argument is that the “transport channel” referred
 20   to in the 3G standard does not satisfy the claim element of “single logical channel”
 21   in claim 1, as shown in his appendix below:
 22
 23
 24
 25
 26
      27
           Id. at 4:65-5:7.
 27   28
           EX-5420 (3GPP TS 25.301 V6.0.0) at Figure 9.
 28
                                                    CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -28-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 32 of 132 Page ID
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 12         74.      Dr. Kakaes simply states that a logical channel is not the same as a
 13   transport channel, and concludes that the 3G standard does not practice this claim
 14   element. Again, he provides no explanation or support for this conclusion.
 15         75.      Dr. Kakaes is incorrect. The current term “Transport Channel” in the
 16   3G standard corresponds precisely to the character of the term “logical channel” of
 17   claim 1, as characterized in the patent description. The fact that 3GPP has
 18   introduced the name “Transport Channel” for the interface between MAC and the
 19   Physical Layer (and is nowadays using “Logical Channel” between RLC and
 20   MAC) does not alter the essentiality, and the “logical channel” of the patent is now
 21   the “Transport Channel” of the 3G standard. For example, below is figure 4 from
 22   the patent:
 23
 24
 25
 26
 27         29
                 Kakaes Opening Statement Appendix, EX-1639 at A-P08575_3G.
 28
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -29-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 33 of 132 Page ID
                                  #:96387


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 12         76.      The patent specification explains that the logical channel is 40a and
 13   40b in this figure (shown in the blue ellipse).31 It is located between the MAC layer
 14   (red rectangle) and the Physical layer (green rectangle). Compare this with figure 2
 15   of 3GPP TS 25.301:
 16
 17
 18
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            30
                 EX-4395 (U.S. 6,363,058) at Figure 4.
 27         31
                 See id. at 4:50-65.
 28
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                             -30-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 34 of 132 Page ID
                                  #:96388


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 16           77.   As can be seen in figure 2 from the 3G standard, the “transport
 17   channels” in the 3G standard (shown in the blue ellipse) are the channels between
 18   MAC layer (red rectangle) and the Physical or “PHY” layer (green rectangle). This
 19   is the same as what the patent refers to as “logical channels,” which are the
 20   channels between the MAC layer (numbered 33 in figure 4) and the Physical layer
 21   (numbered 10 in figure 4). In other words, the channel that sits between the MAC
 22   and PHY layers is the claimed channel. The fact that the patent calls it a “logical”
 23   channel and the 3G standard calls it a “transport” channel is irrelevant.
 24           78.   This is further confirmed by looking at how the text of patent
 25   specification characterizes the term “logical channel.” The specification
 26
 27   32
           EX-5420 (3GPP TS 25.301) at Figure 2.
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -31-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 35 of 132 Page ID
                                  #:96389


  1   characterizes “logical channel” by how data is transported on the physical layer.33
  2   This is consistent with the description of the term “transport channel” in the
  3   standard, as can be seen, for example, below:
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  9
 10         79.    The standard makes it clear that “transport channel” refers to how and
 11   with what characteristics data are transferred over the radio interface, just as the
 12   patent describes the “logical” channel in the specification: “A logical channel 40
 13   represents a branch in the different chains of channel coding and interleaving
 14   […]”35
 15         80.    Thus, Dr. Kakaes is incorrect when he suggests that the term “transport
 16   channel” of the 3G standard does not correspond to the “logical channel” of the
 17   patent. It is clear that these two terms are referring to the same functionality within
 18   the standard. Therefore this element is met by the 3G standard.
 19         81.    Finally, Dr. Kakaes contends that Ericsson’s comment in its claim
 20   chart is wrong, as shown in his appendix below:
 21
 22
 23
                                                                                                        36
 24
 25   33
         EX-4395 (U.S. 6,363,058) at 3:53-4:5.
      34
 26      EX-5420 (3GPP TS 25.301) at § 5.
      35
 27      EX-4395 (U.S. 6,363,058) at 3:54–55.
      36
         Kakaes Opening Statement Appendix, EX-1639 at A-P08575_3G.
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -32-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 36 of 132 Page ID
                                  #:96390


  1          82.      Dr. Kakaes is missing the point. Ericsson’s illustrative comment has
  2   no bearing on the essentiality of the claim. The intention of the comment is to
  3   explain that Quality of Service requirements for the radio bearers are met by
  4   selecting appropriate transport format within an assigned transport format set. I
  5   therefore disagree with Dr. Kakaes and conclude that the P08575 family is
  6   essential.
  7                   5.    P08769
  8          83.      The fifth patent family is the P08769 patent family and includes U.S.
  9   6,493,552. This patent family relates to a recovery solution when multiple
 10   registration attempts to the network fail. Handsets are required to register with the
 11   network, so their location can be tracked. When the network does not receive a
 12   registration message for a long period of time, then the network might assume that
 13   the handset is out of service and inactive. If a handset is noted as inactive and a call
 14   addressed to that handset it will result in a message that the handset is out of
 15   network, and the network will not attempt to page the handset.
 16          84.      The patented technology aids in the situation when a handset attempts
 17   to send registration messages, but receives no response from the network. After a
 18   number of attempts, the handset will assume that the current registration failed, and
 19   it will search for a new control channel on which to acquire service. This prevents
 20   the situation where the handset remains unregistered and unable to make or receive
 21   any calls at all.
 22          85.      Ericsson provided a claim chart to TCL that outlines precisely where
 23   the claimed elements of claim 4 of U.S. 6,493,552 are practiced by the 4G
 24   standard.37 Dr. Kakaes disputes that the P08769 patent family is essential to 4G,
 25   making a variety of mistakes that I explain below.
 26          86.      His main argument is that a portion of the 4G standard Ericsson cites
 27          37
                  EX-5211; EX-5416 (U.S. 6,493,552).
 28
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                             -33-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 37 of 132 Page ID
                                  #:96391


  1   to for the following claim element is optional: “leaving said first control channel
  2   and searching for a second control channel after said predetermined consecutive
  3   number of registration messages have been sent by said mobile communication
  4   devices without a registration response from said base station.”
  5           87.   In particular, Dr. Kakaes appears to argue that the claim is not
  6   essential, because entering the state “EMM-DEREGISTERED.PLMN-SEARCH”
  7   is optional, as shown below in his appendix:
  8
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 12
 13
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 16
 17           88.   Based on this, Dr. Kakaes concludes that no search for a second
 18   control channel is required by the 4G standard, as shown below from his appendix:
 19
 20
 21
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 25           89.   His argument is meritless for two independent reasons. First, the
 26   substate EMM-DEREGISTERED.PLMN-SEARCH is not optional for a handset as
 27   38
           Kakaes Opening Statement Appendix, EX-1639 at A-P08769_4G.
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -34-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 38 of 132 Page ID
                                  #:96392


  1   Kakaes argues. It required by all 4G compliant handsets, including TCL’s, as will
  2   be shown below. Secondly, infringement also occurs when the handset enters the
  3   other state of the two, namely EMM-DEREGISTERED.ATTEMPTING-TO-
  4   ATTACH, as is shown in the claim chart analyzed by Dr. Kakaes.
  5            90.   In contrast to Dr. Kakaes position, the state EMM-
  6   DEREGISTERED.PLMN-SEARCH is not optional and must be implemented by
  7   all 4G compliant handsets, including TCL’s. Whether the handset enters the
  8   .ATTEMPTING-TO-ATTACH or .PLMN-SEARCH substate is dependent on the
  9   outcome of the cell search process and other clearly specified criteria as shown in
 10   TS 24.301 below:
 11
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 21
 22            91.   Thus, if a PLMN reselection is needed according to criteria in 3GPP
 23   TS 23.122, the substate shall be PLMN-SEARCH. It is not up to the handset vendor
 24   to choose whether to implement this state or not.
 25            92.   The word “optionally” that Dr. Kakaes points to refers to the fact that
 26   the selection of PLMN (Public Land Mobile Network), i.e. the selection of network,
 27   39
           EX-5421 (TS 24.301, V8.10.0) at § 5.2.2.4.
 28
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                             -35-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 39 of 132 Page ID
                                  #:96393


  1   can be set by the handset user to either automatic or manual. When set to automatic,
  2   the handset will select a new PLMN if the outcome of cell selection procedures
  3   require that.
  4           This is seen from TS 36.304 below:40
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 25           And further down in the same section 4.1 of the same standard specification:
 26
 27   40
           EX-5422.
 28
                                                    CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -36-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 40 of 132 Page ID
                                  #:96394


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  4            93.   In the event that a non-4G compliant handset vendor would decide not
  5   to implement the PLMN-SEARCH state as required by the standard, as Dr. Kakaes
  6   suggests, it would result in that this handset would fail to attach to any roaming
  7   network e.g. after landing at a foreign airport, if the handset is only registered in its
  8   home network. Since this handset will not find its home PLMN, and since the non-
  9   compliant handset would further not support searching for any other network, it
 10   will remain unregistered and out of service. Clearly, the implementation of PLMN
 11   search is and must be implemented in the way the standard requires, and it is not
 12   optional.
 13            94.   Secondly, and as shown the chart, infringement occurs also when the
 14   handset enters the substate of EMM-DEREGISTERED.ATTEMPTING-TO-
 15   ATTACH.42 As shown, the handset must perform an attach or combined attach
 16   when the handset enters a new cell in a different tracking area (“leaving said first
 17   control channel and searching for a second control channel”). Thus, the standard
 18   requires the claimed behavior in the EMM-DEREGISTERED.ATTEMPTING-TO-
 19   ATTACH state, and infringement takes place independent of whether the state
 20   EMM-DEREGISTERED ATTEMPTING-TO-ATTACH or EMM-
 21   DEREGISTERED.PLMN-SEARCH is entered.
 22            Thus, P08769 is essential to the standard.
 23                  6.     P09040
 24            95.   The sixth patent family is the P09040 patent family and includes U.S.
 25   5,978,685. The P09040 patent relates to the sending of SMS messages, and enables
 26
      41
           Id.
 27   42
           EX-5421 (TS 24.301) at § 5.2.2.3.3.
 28
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                             -37-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 41 of 132 Page ID
                                  #:96395


  1   the handset to transmit SMS messages regardless of whether the handset is
  2   operating in a circuit-switched or packet switched mode.
  3           96.   A multimode 4G handset can operate in both a circuit switched (CS)
  4   mode (e.g., for handling voice calls) and a packet switched (PS) mode (e.g., for
  5   using internet services). 4G support PS mode alone, while 2G and 3G include both
  6   modes. Conventionally, SMS messages prior to the invention were handled in the
  7   CS domain. When sending an SMS using this conventional approach, if the handset
  8   is in PS mode, it closes the packet session and establishes a connection on the
  9   circuit-based control channel to process the SMS. This would be time- and resource
 10   consuming, and further, it would require the CS domain to be available wherever
 11   PS is, otherwise SMS services would not be available over the whole coverage area
 12   of the PS domain.
 13           97.   The technology in this patent family enables the system to receive and
 14   send SMS messages in packet switched mode, without changing to a circuit
 15   switched mode. The system uses the packet switched mode to deliver the SMS
 16   messages if the handset is operating in the packet switched mode; otherwise, it uses
 17   the circuit switched mode.
 18           98.   Ericsson provided a claim chart to TCL that outlines precisely where
 19   the claimed elements of claim 9 of U.S. 5,978,685 are practiced by the 4G
 20   standard.43 Dr. Kakaes disputes that the P09040 patent family is essential to 4G,
 21   making a variety of mistakes that I explain below.
 22           99.   Dr. Kakaes makes one main argument to find the P09040 family non-
 23   essential. He argues that claim 9 of U.S. Patent No. 5,978,685 is not essential to 4G
 24   by pointing to a section of the standard that describes requirements on the handset
 25   when the handset is attached to GPRS and the circuit-switched domain as shown in
 26   an excerpt from his appendix below:
 27   43
           EX-358; EX-357 (U.S. 5,978,685).
 28
                                                    CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -38-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 42 of 132 Page ID
                                  #:96396


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 13           100. The point of Dr. Kakaes’s argument seems to be that a 4G-compliant
 14   handset will not have to send SMS’s over the packet switched domain based on a
 15   quote related to GPRS. But GPRS refers to the packet oriented service in the
 16   evolution of GSM (2G). More specifically, he relies on an excerpt from 3GPP TS
 17   24.011 directed to GPRS, and concludes that a handset will not infringe the claim
 18   because it can use, under particular circumstances when SMS transfer over GPRS
 19   have failed, the circuit switched domain for an “implementation dependent time”
 20   for the SMS transfer, even though the packet switched domain might have become
 21   available.
 22           101. The citation to section 2.6 of TS 24.011 lacks any relevance for the
 23   essentiality of the patent to a multimode 4G handset operating in an LTE or E-
 24   UTRAN network. The specified section 2.6 of TS 24.011 relates, as the section
 25   header reads and specified text provides, to the situation where the UE is attached
 26   to GPRS, i.e. to packet services for GSM and UMTS. The portion of Section 2.6
 27   44
           Kakaes Opening Statement Appendix, EX-1639 at A-P09040_4G.
 28
                                                    CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -39-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
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                                  #:96397


  1   relied on by Dr. Kakaes is irrelevant for a 4G-compliant handset that is operating in
  2   4G packet mode. The full text of Section 2.6, including the heading, is shown
  3   below:
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  8
  9            102. Thus, this standard section is irrelevant for how the handset operates in
 10   4G, as the claim chart corresponds to a 4G UE supporting SMS over the evolved
 11   packet core (EPC) and not over GPRS.
 12            103. When a handset is connected over the 4G packet-switched domain
 13   (i.e., is in “S1 mode”), the handset must be able to send and receive SMS over 4G.
 14   These requirements on the handset are set in Section 2.5A, which directly precedes
 15   the standard section Dr. Kakaes relies on:
 16
 17
 18
 19
 20   46

 21
 22            104. A 4G compliant handset must support short messages via a packet
 23   channel in S1 mode (over 4G). In other words, when operating in packet mode, the
 24   4G handset sends the message via a packet channel, as required by the claim.
 25            105. Further, Dr. Kakaes appears assume that essentiality (and
 26
      45
           EX-5424, TS 24.011 § 2.6.
 27   46
           See EX-5214 (Ericsson’s claim chart for P09040, citing §2.5A of TS 24.011).
 28
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                             -40-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 44 of 132 Page ID
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  1   infringement) of a claim could be avoided by adding a non-infringing special case,
  2   so that the handset does not infringe 100% of the time. However, adding
  3   functionality while still preserving infringement (even if it is less than 100% of the
  4   time) does not prevent infringement, and thus does not prevent essentiality.
  5           This patent family is therefore essential to the 4G standard.
  6                 7.    P10867
  7           106. The seventh patent family is the P10867 patent family. It relates to the
  8   reduction of excessive status reporting that could otherwise result in, for example,
  9   stale re-transmissions and/or excessive re-transmission delays. At a high level, the
 10   patent family relates to data communications, or delivery of data packets, in mobile
 11   telecommunications systems. There are different ways to make data
 12   communications more reliable, and different data communications applications may
 13   require different levels of reliability from the system. One example of these
 14   methods is “ARQ,” or “automatic repeat request,” which uses receiver feedback
 15   with positive (“ACK”) or negative (“NACK”) acknowledgements to request a
 16   transmitter to re-transmit missing/corrupted data units. The transmitter can also poll
 17   the receiver to send such status reports (with ACK/NACK information) from the
 18   receiver. When using this technique, the transmitter sends data units that include
 19   polling requests to the receiver, and in response, the receiver sends status
 20   information to the transmitter. Such a status report may then include
 21   acknowledgements of data units that have been properly received at this point in
 22   time.
 23           107. A challenge identified by the inventors is to make the polling reliable
 24   (e.g., by polling sufficiently often) under the premise that some data units that may
 25   carry the poll will be lost over a fading wireless link. But if the receiver responds
 26   with a status report for every poll, there is an imminent risk that stale re-
 27   transmissions will occur, if the transmitter had not yet responded with a first re-
 28   transmission when it receives yet another (or several) status report(s) indicating the
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -41-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 45 of 132 Page ID
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  1   need to re-transmit the same missing data unit. Such duplicate re-transmissions will
  2   reduce end-user throughput and network capacity, as the unnecessary re-
  3   transmissions consume resources that could have been used for useful data units
  4   instead.
  5           108. The patented technology provides an elegant solution to this problem
  6   by analyzing the polling field of multiple received data units in a group and
  7   responding only once with a status report, even if more than one of the data units
  8   include a request for status information. With the patented solution, it is possible to
  9   make polling very reliable by adding a polling request in multiple simultaneously or
 10   subsequently transmitted data packets without running into the problem of having
 11   excessive re-transmission requests and re-transmissions.
 12           109. Ericsson provided a claim chart to TCL that outlines precisely where
 13   the claimed elements of claims 1 of U.S. 6,643,813 and EP 1,151,572 are practiced
 14   by the 3G and 4G standards.47 Dr. Kakaes disputes that the P10867 patent family is
 15   essential to 3G and 4G, making a variety of mistakes that I explain below.
 16           110. Dr. Kakaes argues that claim 1 of U.S. 6,643,813 and claim 1 of EP 1,
 17   151,572 are not essential to the standard for the same reasons. Dr. Kakaes states
 18   that the essentiality of the claims depend on a construction of two claim elements of
 19   the US patent ‘813: (1) “analyzing as a group, the data field provided in each one of
 20   plural received data units;” and (2) “wherein the operation is performed only once
 21   for the group of received data units even if information in more than one of the data
 22   units in the group indicates that the operation should be performed, and wherein the
 23   field is a polling field, the information is a polling request, and the operation is
 24   transmission of status information.” Dr. Kakaes argues that a “proper” claim
 25   construction requires the entire group to be analyzed, and that a decision must be
 26   made before performing an operation, as can be seen in his appendix below.
 27   47
           EX-5091 and EX-5084. EX-4399 (U.S. 6,643,813), EX-5423 (EP 1,151,572).
 28
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -42-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 46 of 132 Page ID
                                  #:96400


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  5
  6         111. Dr. Kakaes makes one argument to support his non-essentiality
  7   conclusion: that the 3G and 4G standards analyze packets individually, not as a
  8   group as the “properly” construed claim requires. He relies on the patent
  9   specification and prosecution history as alleged support for his construction.
 10         112. Dr. Kakaes’s understanding of both the prosecution history and the 3G
 11   and 4G standards are incorrect. First, the prosecution history explicitly contradicts
 12   Dr. Kakaes’s construction. The Examiner of the ‘813 patent acknowledges that
 13   “though the term ‘as a group’ is used in the claim limitation, the analysis is effected
 14   individually by looking into each data field of each data unit.”49 As a result, the
 15   prosecution history clearly states that the “as a group” term allows for individual
 16   analysis so long as it is done on a group of data units. This makes sense from even a
 17   common sense perspective. If I were analyzing a group of photos to determine if
 18   they were portraits or landscapes, I would look at each photo in the group to make
 19   that determination. It is not possible to simultaneously review each photo as Dr.
 20   Kakaes seems to suggest would be required to analyze a group. In summary, Dr.
 21   Kakaes’s construction is not proper; it is contradicted by the prosecution history,
 22   which makes clear the group of data units can be analyzed by “individually []
 23   looking into each data field of each data unit.”50
 24         113. Second, Dr. Kakaes misunderstands the 3G and 4G standards. They
 25   48
         Kakaes Opening Statement Appendix, EX-1639 at A-P10867_3G.
 26   49
         EX-4424, (Prosecution History of U.S. 6,643,813) at p. 96 of 149 [p. EX-
      4424.0096].
 27   50
         Id.
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -43-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 47 of 132 Page ID
                                  #:96401


  1   perform the analysis “as a group,” as required by the claims. More specifically, Dr.
  2   Kakaes suggests that each packet is reviewed individually and thus cannot infringe
  3   the “group” claim language as explained in his appendix below:
  4
  5
  6
  7
  8                                                                                          51

  9
 10           114. Dr. Kakaes’s understanding of how the 3G standard operates is
 11   incorrect. In the 3G standard, the group of received data units are a group of AMD
 12   PDUs that are either received simultaneously in one transmission time interval or
 13   received during the time period that a timer prohibiting status reports is running
 14   (Timer_Status_Prohibit in 3G, t-StatusProhibit in 4G). More specifically, the group
 15   of AMD PDUs is analyzed by “individually [] looking into each data field of each
 16   data unit” as the prosecution history makes clear is the claimed “analyzing, as a
 17   group.” Then the 3G standard requires that the receiver transmit one status report to
 18   the sender, if at least one status report was triggered during the time the
 19   transmission of a status reports was prohibited by the Timer_Status_Prohibit, as
 20   shown in Ericsson’s claim chart below:
 21
 22
 23
 24
 25
 26
 27   51
           Kakaes Opening Statement Appendix, EX-1639 at A-P10867_3G.
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -44-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 48 of 132 Page ID
                                  #:96402


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 11
 12           115. This operation is the performance of the operation “only once for the
 13   group of received data units” as claimed. Therefore, the 3G standard operates in the
 14   same way claimed by Ericsson’s P10867 patent family. The P10867 family is
 15   essential to the 3G standard.
 16           116. With respect to 4G, Dr. Kakaes makes the exact same argument—that
 17   the 4G standard does the analysis individually, not “as a group” as he construes this
 18   phrase. His argument fails for the same reason. His claim construction is directly
 19   contradicted by the prosecution history, and the 4G standard also uses a timer
 20   similar to 3G’s Timer_Status_Prohibit. The 4G time is called tStatusProhibit, as
 21   shown in the 4G claim charts. The P10867 family is therefore also essential to the
 22   4G standard.
 23           117. With respect to the corresponding claim charts of the EP patent, Dr.
 24   Kakaes makes yet another error. Without any further analysis of the EP patent, he
 25   refers to his analysis of the US patent, where he challenged the essentiality of the
 26   limitation “analyzing, as a group […]” .
 27   52
           EX-5091 (ERIC_TCL00191829); EX-5426 (TS 25.322 V6.0.0)
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -45-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 49 of 132 Page ID
                                  #:96403


  1            From Dr. Kakaes appendix:
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  3
  4
  5            118. However, EP ‘572 does not have the same limitation. Instead, the
  6   corresponding limitation reads:
  7            “analyzing, a data field provided in each one of a group of plural received
  8   protocol data units”
  9            119. The challenged formulation “analyzing as a group” is not in the EP
 10   claim.
 11            120. Thus, Kakaes has failed to provide any arguments at all on the claim
 12   charts for the EP patent. Thus, the EP patent is also essential to both 3G and 4G.
 13                  8.     P11289
 14            121. The eighth patent family is the P11289 patent family. It relates to the
 15   handling of security associations between the handset and base stations when the
 16   handset moves from one cell to another. As wireless and mobile communication
 17   technologies developed, security issues became important concerns. There are a
 18   number of different security protocols used in 4G. Security in mobile
 19   telecommunications is a balancing act – as communications need to have a certain
 20   level of security, without sacrificing the data rates or latency users expect.
 21            122. The patented technology improves the performance of a handset when
 22   the handset moves from one base station to another. The handset reuses an existing
 23   security association when it is handed over to the new base station. This lets the
 24   handset continue secure communications upon being handed over, rather than
 25   having to re-negotiate a new security association. This minimizes latency and
 26   improves the user’s experience.
 27            123. Ericsson provided a claim chart to TCL that outlines precisely where
 28   the claimed elements of claim 1 of U.S. 6,418,130 are practiced by the 4G
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                             -46-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 50 of 132 Page ID
                                  #:96404


  1   standard.53 Dr. Kakaes disputes that the P11289 patent family is essential to 4G,
  2   making a variety of mistakes that I explain below.
  3           124. Dr. Kakaes argues that claim 1 of U.S. 6,418,130 is not essential
  4   because the 4G standard does not practice the following limitation of claim 1:
  5   “reusing an existing security association to support the connection between the
  6   mobile unit and the second stationary unit, wherein the existing security association
  7   was previously used to support the connection between the mobile unit and the first
  8   stationary unit.”
  9           125. Dr. Kakaes makes one argument to support his conclusion. He uses the
 10   European prosecution history to interpret the claims of a U.S. patent. Then he
 11   suggests the “properly” interpreted claim requires reusing “the exactly same”
 12   crypto-key and parameters, which he alleges that the 4G standard does not reuse.
 13   This is shown in his appendix, as excerpted below:
 14
 15
 16
 17
 18
 19
 20
 21                                               ...
 22
 23
 24
                                                                                                            54
 25
 26
      53
           EX-361.
 27   54
           Kakaes Opening Statement Appendix, EX-1639 at A-P11289_4G.
 28
                                                          CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -47-         CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 51 of 132 Page ID
                                  #:96405


  1           126. I will first address whether it is appropriate to use the European
  2   prosecution history to interpret the claims of a U.S. patent as Dr. Kakaes has done.
  3   Dr. Kakaes states that the European prosecution history should be used to limit the
  4   claim term “security association” as claimed in the corresponding U.S. patent. I
  5   understand from my colleague Mr. Delgado that Dr. Kakaes is committing legal
  6   error by limiting the plain meaning of terms by importing limitations from extrinsic
  7   evidence, in this case by asserting that the EP prosecution history would limit the
  8   claim interpretation of a U.S. patent. I also reviewed the specification of the ‘130
  9   U.S. patent, and the prior art reference that the European Patent Office cited was
 10   considered during its prosecution, as can be seen below:
 11
 12
 13
 14
 15
 16                                                                                               55

 17
 18           127. Thus, the U.S. Patent office considered this reference and did not
 19   reject the claim.
 20           128. Moreover, Dr. Kakaes’s interpretation of the European prosecution
 21   history is incorrect. The conclusion by Dr. Kakaes that the “security association”
 22   must be a “fixed value” is meritless. The portion of the prosecution history cited by
 23   Dr. Kakaes does not seem to mention any term called “fixed value” at all, but it
 24   uses a term “fixed information” that Dr. Kakaes apparently is referring to. The
 25   term “fixed information” was used to explain the difference of the disclosure in the
 26   Malek prior art from the solution of EP ’400. Malek is said to disclose an
 27   55
           EX-359 (U.S. 6,418,130).
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -48-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 52 of 132 Page ID
                                  #:96406


  1   Encryption Synchronization Counter (ESC) to synchronize encryption at the time-
  2   instance of a handover. Such information is dynamic, time-dependent and cannot be
  3   re-used. By contrast, EP ´400 discloses a solution where the “information” is
  4   “fixed” in the sense that the “information” is re-used without re-negotiation to
  5   attain new “information”. Only a re-negotiation would alter the “information.” The
  6   cited portions of the prosecution history do not talk about any “fixed value” and
  7   neither the claims nor the EP prosecution history is hinting that the information of a
  8   security association could not be processed further.
  9           129. This interpretation of the term “reuse” is also supported by the patent
 10   specification, which states that “[t]he present invention accomplishes this by
 11   reusing rather than renegotiating the security associations (SAs) corresponding to
 12   the MU once the MU is handed-over. By reusing the SAs, less time is spent
 13   negotiating SAs.”56
 14           130. Dr. Kakaes then argues that the 4G standard does not “reuse an
 15   existing security association” as claimed. This is incorrect. The handset establishes
 16   a security association through the AKA procedure, as shown in the chart. Based on
 17   the so-obtained key K_ASME, the key K_eNB and NH parameters are derived, and
 18   K_eNB is turn input for deriving keys that are input for user-plane ciphering as well
 19   as integrity protection and ciphering of signaling (RRC), as also shown in the chart
 20   (K_UPenc, K_RRCint and K_RRCenc below). The key hierarchy is schematically
 21   illustrated in TS 33.401, section 6.2:
 22
 23
 24
 25
 26
 27   56
           EX-359 (U.S. 6,418,130) at 2:12-15.
 28
                                                        CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                               -49-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 53 of 132 Page ID
                                  #:96407


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 12                                                                                       57


 13
 14           131. When a handover is performed, another key derivation takes place,
 15   which is based on the same security association. The new KeNB (called KeNB*),
 16   which is used as input for deriving the keys for ciphering and integrity protection
 17   towards the Target eNB, is derived with the previous KeNB (or NH) as input, see
 18   the arrow in the figure above highlighted with a red box. Thus, all keys before and
 19   after handover belong to one security association, which is originating from one
 20   AKA procedure.
 21           132. Dr. Kakaes argues that the exactly same RRC and UP crypto keys are
 22   not used by the target eNB as an argument against essentiality. However, it must be
 23   understood that a security association is never static. For example, it is well known
 24   that sequence numbers can be used only once to ensure secure communication
 25   (such as the Encryption Synchronization Counter (ESC) in Malek above). In a
 26   similar way, the KeNB is hashed to KeNB* in order to not compromise security.
 27   57
           EX-5425 (TS 33.401, § 6.2).
 28
                                                    CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -50-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 54 of 132 Page ID
                                  #:96408


  1   Still, all keys are all derived from the same K_ASME and the same security
  2   association is re-used, i.e., it is not re-negotiated.
  3          Therefore, the P11289 family is standard essential.
  4                 9.     P13459
  5          133. The ninth patent family is the P13459 patent family. It relates to re-
  6   ordering packets that are received over multiple different paths, and thus may be
  7   received out of order. The patented technology enables the packets to be re-ordered
  8   at the receiver into the original sequence.
  9          134. At a high level, the technology in this patent family relates to data
 10   transmissions in cellular network. Cellular networks historically used a “frame
 11   relay” protocol for transmitting data packets. The frame-relay protocol opens one
 12   circuit between the sender and the receiver. The data packets are then sent in order
 13   from the sender to the receiver. Because there is only one circuit (or path) from the
 14   sender to the receiver, the data packets will necessarily arrive in the order they are
 15   sent. This is because there is no alternate path that some of the packets can take to
 16   get ahead of other data packets. In today’s cellular networks, however, packets can
 17   arrive in an order that is different from the order they were transmitted. For
 18   example, this is true at handover in 4G. Due to handover, a packet transmitted via
 19   source base station (the base station prior to handover) is at times received before
 20   an “older” packet (with a lower sequence number), wherein the base station after
 21   the handover transmits this “delayed” packet. Re-ordering of such packets received
 22   out of sequence can be important for many services that expect to receive packets in
 23   the same order as they were transmitted.
 24          135. The technology covered by the P13459 patent family creates a
 25   protocol with automatic re-ordering of packets that may arrive at the receiver out
 26   of order.
 27          136. Ericsson provided a claim chart to TCL that outlines precisely where
 28   the claimed elements of claim 3 of U.S. 6,738,379 are practiced by the 4G
                                                        CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                              -51-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 55 of 132 Page ID
                                  #:96409


  1   standard.58 Dr. Kakaes disputes that the P13459 patent family is essential to 4G,
  2   making a variety of mistakes that I explain below.
  3         137. Dr. Kakaes makes two arguments to support his conclusion that argues
  4   that claim 3 of U.S. 6,738,379 is not essential to the 4G standard. First, he argues
  5   that a base station practices the “transmitting” element, and so this element cannot
  6   be infringed by a standard-compliant handset. I understand from my colleague, Ms.
  7   Evelyn Chen, that Dr. Kakaes is misunderstanding the law when he applies only
  8   this “directs or controls” test. I understand that just because the identified claim
  9   does not entirely read upon a handset, it does not mean that TCL is not enjoying the
 10   benefits realized by the claimed invention.
 11         138. Second, Dr. Kakaes argues that three other claim elements are not
 12   practiced by the 4G standard because the standard enables individual delivery of
 13   packets while the claims require the packets be held in a buffer until the whole
 14   sequence is filled, as shown in his appendix below:
 15
 16
                                                                                                       59
 17
 18         139. To support this view, Dr. Kakaes creates an example where packets
 19   with sequence numbers are arriving in the following order #1, #2, #5, #3, #4, where
 20   he assumes that packet #1 has already been delivered to upper layers.60 According
 21   to Dr. Kakaes’s analysis, the normative requirements in the 3GPP 4G standard (TS
 22   36.323)61 would result in the following sequence of events:
 23                (i)    Receive, store, and deliver packet #2;
 24
 25   58
         EX-5067; EX-5417 (U.S. 6,738,379)
      59
 26      Kakaes Opening Statement Appendix, EX-1639 at A-P13459_4G.
      60
         Id.
 27   61
         EX-5427.
 28
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -52-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 56 of 132 Page ID
                                  #:96410


  1                    (1)     Receive and store packet #5;
  2                    (2)     Receive, store, and deliver packet #3;
  3                    (3)     Receive and store packet #4; and
  4                    (4)     Deliver packets #4 and #5.62
  5              140. He contrasts this to his interpretation of the claim, wherein he alleges
  6   that the claimed solution would result in the following delivery sequence:
  7                    (1)     Receive, store, and deliver packet #2;
  8                    (ii)    Receive and store packet #5;
  9                    (iii)   Receive and store packet #3;
 10                    (iv)    Receive and store packet #4; and
 11                    (v)     Deliver packets #3, #4 and #5.63
 12              141. On the basis of this example, he alleges that the claim language
 13   requires the whole gap (between #2 and #5) to be filled before the missing units (#3
 14   and #4) are delivered.
 15              142. However, Kakaes appears to misread the following claim limitations:
 16   “determining whether or not the received packets have sequential packet numbers;”
 17   and “passing the received data packets directly to a receiving application if the
 18   received data packets have sequential packet numbers.”
 19              143. This seems to be the case in his example, when he constructs the
 20   following logic:
 21
 22
 23
 24
 25
 26
      62
           Id.
 27   63
           Id.
 28
                                                         CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                                -53-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 57 of 132 Page ID
                                  #:96411


  1   64


  2              144. The claim does not include any comparison to the “SN of the last
  3   received” packet. It seems that Dr. Kakaes is making a mistake when interpreting
  4   the claim language as if the comparison (when #3 is received) would be performed
  5   towards the “SN of the last received” packet. This is incorrect. The determining
  6   step of the claim identifies the “received packets,” not only the “last received”
  7   packet. The “received packets” include #2. And since #3 is sequential to #2, packet
  8   #3 is delivered upon reception. This results in a behavior identical to the
  9   requirements set by the 4G standard:
 10                    (1)    Receive, store, and deliver packet #2;
 11                    (vi)   Receive and store packet #5;
 12                    (vii) Receive, store, and deliver packet #3.
 13              145. What remains in Dr. Kakaes’s example is the reception of #4. Again,
 14   the behavior is identical to the requirement of the 3GPP specification, since #4 is
 15   sequential to #3. In addition, the claim requires delivery of two or more packets at
 16   the beginning of the buffer, which is the case for #4 and #5, upon arrival of #4, as
 17   recited in the following claim element: “determining whether two or more packets
 18   have sequential numbers and are stored at the beginning of the buffer; passing the
 19   two or more packets to the receiving application if they have sequential numbers
 20   and are stored at the beginning of the buffer.” Thus, the claim results in the same
 21   behavior as the standard:
 22                    (1)    Receive, store, and deliver packet #2;
 23                    (viii) Receive and store packet #5;
 24                    (ix)   Receive, store, and deliver packet #3;
 25                    (x)    Receive and store packet #4; and
 26                    (xi)   Deliver packets #4 and #5.
 27   64
           Id.
 28
                                                        CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                               -54-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 58 of 132 Page ID
                                  #:96412


  1           146. This claim is essential to the standard, as can be seen in Ericsson’s
  2   claim chart. Dr. Kakaes hypothetical example does not accurately depict how the
  3   claim operates versus the standard, and he presents no arguments to rebut the
  4   mapping in Ericsson’s claim chart (so I assume he does not have any). I therefore
  5   find that the P13459 patent family is standard essential.
  6                  10.   P21428
  7           147. The tenth patent family is the P21428 patent family. It relates to a
  8   solution for allocating resources for access bursts in the time and frequency
  9   domains. The solution improves the flexibility to what resources to use for random
 10   access bursts.
 11           148. As I described previously, when a handset needs to initiate
 12   communication, it must go through the random access procedure by first sending a
 13   random access burst, based on which the base station can detect activity from the
 14   handset. In solutions prior to the invention, the random access transmission was
 15   typically transmitted over the whole access bandwidth. However, with the wide
 16   channels provided in 4G, there was a need for greater flexibility to provide time
 17   and/or frequency resources to the random access procedure.
 18           149. Ericsson provided a claim chart to TCL that outlines precisely where
 19   the claimed elements of claim 1 of U.S. 8,285,294 are practiced by the 4G
 20   standard.65 Dr. Kakaes disputes that the P21428 patent family is essential to 4G,
 21   making a variety of mistakes that I explain below.
 22           150. Dr. Kakaes makes one argument to support his conclusion that claim 1
 23   of U.S. 8,285,294 is not essential to the 4G standard. He alleges that the 4G
 24   standard does not meet the following claim element: “setting one of a first access
 25   bandwidth or a second access bandwidth.” In particular, he argues that the claim
 26   requires two different bandwidths and that the 4G standard only uses one
 27   65
           EX-363.
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -55-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 59 of 132 Page ID
                                  #:96413


  1   bandwidth, as shown in his appendix below:
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 10
 11
 12
 13
                                                                                                66
 14
 15           151. Dr. Kakaes also expands on this analysis for the first time in his
 16   opening witness statement. Dr. Kakaes takes issue with how different the access
 17   bandwidths must be to meet the claim language. He argues that the difference
 18   between the standard’s access bandwidths is “relatively miniscule,” and suggests
 19   that Ericsson’s P21428 family requires a much bigger difference in access
 20   bandwidths.67
 21           152. Not only does he provide no basis for his requirement that there be a
 22   large magnitude of difference between the access bandwidths, he incorrectly
 23   interprets the specification of U.S. 8,285,294 to arrive at his conclusions. First, Dr.
 24   Kakaes points to nothing in the specification or prosecution history that limits the
 25   claims to large differences in bandwidths. As he recites in his legal principles, the
 26
      66
           Kakaes Opening Statement Appendix, EX-1639 at A-P21428_4G.
 27   67
           Kakaes Opening Statement at ¶ 154, Figure 17 (PDX 69).
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -56-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 60 of 132 Page ID
                                  #:96414


  1   only time he can narrow a claim term to something other than its plain and ordinary
  2   meaning are when (1) the patentee sets out a definition and acts as his own
  3   lexicographer or (2) when the patentee disavows the full scope of a claim term
  4   either in the specification or during prosecution.68 Dr. Kakaes does not attempt to
  5   meet either of these requirements with his narrow construction of the word
  6   “different,” which notably does not even appear in the claims. He does not state that
  7   Ericsson acted as its own lexicographer or that it disavowed the full scope of the
  8   claim.
  9            153. Second, he relies on an extreme example that he incorrectly assumes
 10   limits the terms of the claims. Based on the patent specification, Dr. Kakaes
 11   suggests that the    first access bandwidth may be 20MHz and a second access
 12   bandwidth may be 1.25 MHz, which creates a large difference in bandwidths.69
 13   However, the specification makes clear that one access bandwidth need only be
 14   smaller than the other. There is no requirement how much smaller it must be, and
 15   certainly no requirement that it be orders of magnitude smaller, which is what Dr.
 16   Kakaes implies with his 94% difference in his Figure 17.
 17            154. For example, the specification provides a number of options for the
 18   different access bandwidths. One option is for the access bandwidth to be the
 19   available transmission bandwidth.70 This can be 20 MHz, 5 MHz, or some other
 20   bandwidth.71 Again, the specification makes clear that these are merely examples of
 21
      68
         Kakaes Opening Statement at ¶ 110.
 22   69
         Id.
 23   70
         EX-362 (U.S. 8,285,294) at 10:31-36 ( “in still other embodiments, a mobile
      terminal may be adapted to choose from different access bandwidths. For example,
 24   the terminal might be adapted to either use a BWRACH equal to the available
      bandwidth or a BWRACH equal to a smaller value, e.g., a minimum system
 25   bandwidth.”).
      71
 26      Id. at 3:42-48 (“For example, the mobile network may be an LTE system, which
      provides a maximum available transmission bandwidth of 20 MHz . . . [or] the
 27   radio base station may support only a portion of the LTE maximum transmission
      bandwidth, for example 5 MHz.”).
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -57-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
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  1   different available bandwidths.72 Another option is for the access bandwidth to be
  2   the minimum system bandwidth.73 This can be 1.25 MHz.74 Another option is to set
  3   the access bandwidth at an even smaller value of 1 MHz.75 And yet more options are
  4   to set the access bandwidth at “smaller than the available transmission
  5   bandwidth,”76 “larger than the minimum system bandwidth,”77 “a fraction of the
  6   available transmission bandwidth,”78 or “one fourth of the available bandwidth.”79
  7   Clearly, the specification teaches that the access bandwidths need not be
  8   substantially different. To point out just one example, as noted above, two options
  9   are 1.25 MHz and 1 MHz. This is nowhere near the 94% difference Dr. Kakaes
 10   appears to require of the claim language. The specification therefore clearly does
 11   not support Dr. Kakaes’s conclusion.
 12         155. In fact, Dr. Kakaes’s hypothetical example where one of the access
 13   bandwidths would be 20 MHz does not make sense in a 4G setting. The maximum
 14   system bandwidth in 4G is 20 MHz, but the claim requires that “the set access
 15   bandwidth […] is set smaller than an available than an available system
 16   transmission bandwidth”. Thus, both access bandwidths have to be smaller than
 17   the system bandwidth.80
 18   72
         Id.
      73
 19      Id. at 10:17-19 (“In one example, the minimum system bandwidth may be
      defined to be 1.25 MHz and BWRACH may then be selected as 1.25 MHz.”).
 20   74
         Id.
      75
 21      Id. at 11:4-9 (“The bandwidth allocated for a random access burst, BWRACH, may
      be in the order of 1 MHz, . . . [which] is smaller than the smallest allowed system
 22   bandwidth suggested for example for 3GGP [sic] LTE, which is prospectively 1.25
      MHz.”).
 23   76
         Id. at 9:18-21.
      77
 24      Id. at 10:22-23.
      78
         Id. at 9:67-10:6.
 25   79
         Id.
      80
 26      Id. at 3:42-48 (“For example, the mobile network may be an LTE system, which
      provides a maximum available transmission bandwidth of 20 MHz . . . [or] the
 27   radio base station may support only a portion of the LTE maximum transmission
      bandwidth, for example 5 MHz.”).
 28
                                                    CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                          -58-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 62 of 132 Page ID
                                  #:96416


  1           156. Dr. Kakaes also misunderstands how the standard operates. He
  2   suggests that the 4G standard compliant handset always uses 1,080 KHz bandwidth
  3   for transmission of the access burst. This is wrong. As shown in Ericsson’s claim
  4   chart below, the 4G standard uses two access bandwidths: (1) 1,049 KHz or (2)
  5   1,043 KHz.
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 10   81


 11           157. As explained in Ericsson’s claim chart, the handset (i.e., “UE”) sets a
 12   bandwidth based on the equation NZC x ΔfRA. Both of these variables (NZC and
 13   ΔfRA) can be different sizes based on the random access preamble sequence length.
 14   For example, the NZC variable can be either 839 or 139 long. Similarly, the ΔfRA
 15   variable can be 1,250 Hz or 7,500 Hz. Thus, when the math is done for the
 16   preamble formats, the result is two different bandwidths as shown below:
 17                                  NZC x ΔfRA = bandwidth
 18                                839 x 1,250 Hz = 1,049 MHz
 19                               139 x 7,500 Hz = 1,043 MHz
 20           158. Dr. Kakaes is therefore wrong that the 4G standard only uses one
 21   bandwidth of 1,080 kHz.
 22           159. Dr. Kakaes also argues that while these two numbers are different, the
 23   bandwidth size available for the random access preamble is 1,080 KHz. He makes
 24   an argument that the access bandwidth should include the guard bands, which are
 25   different for the preamble formats. But the patent specification is clear in showing
 26   that the access guard band(s) are not included in the random access channel, see
 27   81
           EX-363; EX-5428 (3GPP TS 36.211 V8.9.0).
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -59-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 63 of 132 Page ID
                                  #:96417


  1   Figure 8B:82
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 10
 11         160. The access bandwidths of the claim are therefore different as shown in
 12   the chart.
 13         161. The P21428 patent family is essential to the 4G standard.
 14                  11.   P21787
 15         162. The eleventh patent family is the P21787 patent family. It reduces
 16   power consumption in a handset while in connected mode by introducing efficient
 17   discontinuous reception. As I explained earlier, discontinuous reception (DRX) and
 18   also idle mode (“paging state” in the patent) procedures include periods where the
 19   handset does not listen continuously for signals from the base station, conserving
 20   battery life for the handset. In general, a base station will send actual data to the
 21   handset (e.g., voice call data, email data, SMS data) along with control information
 22   the handset must monitor to maintain communications with the network.
 23   Conventionally, an inactive handset was moved to a separate “idle” (or paging)
 24   state where it only occasionally listens for a wake-up or paging signal. However,
 25
      82
         EX-362 at 11:33-37 (“The individual channels are separated from each other by
 26   frequency guard bands to avoid an overlap of inaccurately positioned access bursts
      received at the base station in neighbouring channels.”)
 27   83
         EX-362.
 28
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -60-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 64 of 132 Page ID
                                  #:96418


  1   this technique based on state-changes requires additional signaling between the
  2   handset and base station, so it is not appropriate for shorter inactive periods. This is
  3   because the handset may still spend significant resources continually monitoring
  4   control information, even when that handset is not actively receiving or sending
  5   actual data (e.g., actively engaged in a voice call or surfing the Internet).
  6           163. The patented technology allows the handset to use inactive time
  7   instants so that it is not continuously listening for signaling from the base station.
  8   The handset and the base station must agree on a set of rules that specify specific
  9   times when the network may not transmit anything to the handset, thereby allowing
 10   the handset to preserve battery. This way, no extra signaling is needed when the
 11   handset should be listening for any possible transmissions from the base station.
 12   The solution is advantageous also for shorter time intervals of inactivity, which
 13   over time results in battery savings.
 14           164. Ericsson provided a claim chart to TCL that outlines precisely where
 15   the claimed elements of claim 1 of U.S. 8,180,408 are practiced by the 4G
 16   standard.84 Dr. Kakaes disputes that the P21787 patent family is essential to 4G,
 17   making a variety of mistakes that I explain below.
 18           165. Dr. Kakaes makes two arguments to support his conclusion of non-
 19   essentiality. First, Dr. Kakaes argues that the “making an agreement with said
 20   sender” claim is not met because of statements made during the prosecution of the
 21   patent. Second, Dr. Kakaes argues that claim 1 of U.S. Patent No. 8,180,408 is not
 22   essential to the 4G standard because the “making” and “said sender” limitations are
 23   implemented at the base station and not the handset.
 24           166. In his first argument, Dr. Kakaes further argues that the “making an
 25   agreement with said sender” claim is not met, because of statements made during
 26   the prosecution of the patent. Dr. Kakaes’s full argument can be seen below:
 27   84
           EX-365; EX-4410 (U.S. 8,180,408)
 28
                                                       CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                              -61-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
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 17           167. Dr. Kakaes’s argument appears to be that the claim term “making an
 18   agreement” cannot cover the situation in the 4G standard where the handset
 19   receives and acknowledges a DRX configuration from a base station. I agree with
 20   the prosecution history that Morelli does not appear to disclose at least “a user
 21   equipment making an agreement on such a rule with the transmitter”. However,
 22   Kakaes is wrong when he contends that the file history would limit the
 23   interpretation of the claim element. Morelli does not disclose any configuration
 24   message from a base station with a rule that the UE needs to acknowledge and
 25   comply with. Thus, and the file history does not limit the claims in the way Dr.
 26   Kakaes suggests. The file history does not require any particular interpretation of
 27   85
           Kakaes Opening Statement Appendix, EX-1639 at A-P21787_4G.
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -62-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
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                                  #:96420


  1   the term “making an agreement.”
  2         168. In particular, the plain meaning of the term “making an agreement”
  3   does not exclude a handset’s acknowledgement of the configuration command from
  4   the base station. This is how configuration rules are agreed upon in
  5   telecommunication systems in general. The patent specification shows that this
  6   scenario is included in the meaning of “making an agreement,” as it states that a
  7   “sleep rule should be setup between a pair of sender and receiver. In the sender, the
  8   rule specifies when the sender is allowed to transmit packets to the receiver.”86
  9         169. The patent therefore envisions that rules should be “setup” between the
 10   sender and receiver (e.g., handset and base station). Such setup procedures are
 11   generally implemented with configuration messages that the receiver of the
 12   message can either accept or reject. The patent specification thus clearly gives
 13   support for Ericsson’s understanding of the claim, that the rule should be set up
 14   between the sender and the receiver, using control signaling.87 Dr. Kakaes does not
 15   provide any alternative claim construction for the term “making an agreement on a
 16   rule,” and it is clear that the intrinsic evidence supports Ericsson’s understanding of
 17   the term.
 18         170. The prosecution history also does not preclude the term “making an
 19   agreement” from including the receipt and acknowledgement of a configuration by
 20   the handset. In fact, Morelli suggests a different solution, very distant from both the
 21   solution in P21787 and the 4G standard based on explicit signaling to change mode.
 22   Morelli discloses using an “existing receive-signal-strength-indicator (RSSI) signal
 23   and/or one or more properties of an incoming signal to control power provided to
 24   portions of the circuitry in the receiver to switch the receiver between an active
 25
      86
        EX-4410 (U.S.8,180,408) at 3:9-11.
 26   87
        Id. at 5:52-54 (“This can be done either in the network or in the terminal (or even
 27   both), depending on the nature of the control signaling defined to setup the sleep
      rules.”).
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -63-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 67 of 132 Page ID
                                  #:96421


  1   mode and a sleep mode.”88
  2           171. Thus, Morelli does not disclose setting up the sleep rules the way the
  3   P21787 family claims. The prosecution history that Dr. Kakaes cites also clearly
  4   shows the distinction between Morelli and the patented technology is the “rule” part
  5   of the claim term. This citation states that since there is no rule in Morelli, there
  6   certainly is no agreement on a rule. This statement does not redefine the word
  7   “agreement” or narrow it in the way Dr. Kakaes suggests.
  8           172. In his second argument, Dr. Kakaes states that TCL does not direct or
  9   control the performance of the “making” and “said sender agrees” claim elements.
 10   However, I understand from my colleague, Evelyn Chen, that the “directs or
 11   controls” test that Dr. Kakaes relies upon is not the only criteria to prove that one
 12   party can be held responsible for direct infringement for the actions of others. As a
 13   result, just because the identified claim is not entirely practiced at the handset, does
 14   not mean that TCL is not enjoying the benefits realized by the claimed invention as
 15   explained by Ms. Chen.
 16           173. In addition, Dr. Kakaes’s “direct or control” argument is incorrect. The
 17   full claim element reads: “wherein, during said inactive time instants, said receiver
 18   is not listening for signaling from said sender and said sender agrees not to send
 19   packets to the receiver, whereby less power is consumed during said inactive time
 20   instants.” The language “sender agrees not to send packets to the receiver” does not
 21   need to be implemented in an infringing receiver. The step “making an agreement”
 22   is implemented in the receiver, and the agreement or rule is characterized by
 23   “inactive time instants” during which a sender does not send packets as claimed. In
 24   essence, the claim requires agreeing to a rule, which has some characteristics, and
 25   this claim element provides information about those characteristics. So long as a
 26   handset does, in fact, agree to a rule with such characteristics, it meets the claim
 27   88
           EX-5429 (Morelli) at 3:38-44.
 28
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -64-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 68 of 132 Page ID
                                  #:96422


  1   limitation. The handset itself does not have to set the characteristics to practice the
  2   elements of the claim. As a result, the claim, as properly interpreted, is essential to
  3   the 4G standard.
  4                12.    P22430
  5         174. The twelfth patent family is the P22430 patent family. It relates to a
  6   more granular way to indicate buffer status levels in the handset. The handset
  7   includes a number of buffers for different kinds of data packets. For example, as
  8   mentioned above, data packets can have different quality of service or priority
  9   levels because some data cannot be delayed (e.g., control plane signaling, voice
 10   data), while other data can tolerate some delays (e.g., emails or text messages). The
 11   handset’s data will go into different buffers depending on what priority level the
 12   data has. For example, control plane signaling could be set with the highest priority
 13   followed by voice data. Video and web surfing data go into a buffer that is for
 14   moderate priority data, and emails and text messages go into a buffer for the lowest
 15   priority data. Other configurations can of course also be applied.
 16         175. The P22430 patent family seeks to find a balance between buffer
 17   reporting accuracy and overhead caused by buffer reporting. The need for accurate
 18   information of the uplink resource is particularly important in 4G, since the 4G
 19   channels carrying data are scheduled by the base station. While it is often true that
 20   data resides only in one buffer, it is necessary at times to offer information about
 21   additional buffers that contain data. This is particularly true if there is some higher-
 22   priority data arriving to the buffer. Ericsson’s patented solution provides a more
 23   efficient mechanism to allow several buffers to send their status level information
 24   without significantly increasing signaling overhead.
 25         176. Ericsson provided a claim chart to TCL that outlines precisely where
 26   the claimed elements of claim 1 of each of U.S. 8,243,666, EP 2,030,380, CN
 27
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -65-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 69 of 132 Page ID
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  1   101473604B, and JP 4,903,861 are practiced by the 4G standard.89 Dr. Kakaes
  2   disputes that the P22430 patent family is essential to 4G, making a variety of
  3   mistakes that I explain below.
  4         177. Dr. Kakaes makes one argument to support his conclusion that none of
  5   these claims are essential to 4G. He argues that the 4G standard does not require the
  6   following claim limitation: “encoding buffer fill levels, Bk, for each radio bearer or
  7   said group of radio bearers k into N bit fields, wherein each of the 2N possible
  8   values for Bk is mapped to a buffer fill level interval.” In particular, he argues that
  9   the claimed “buffer fill level interval” cannot include zero (0), and the 4G standard
 10   does not infringe because one of the buffer fill intervals is zero as shown in his
 11   appendix below:
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 27     EX-5140, EX-5138, EX-5137, EX-5139; EX-5430 (U.S. 8,243,666); EX-5431
      (EP 2,030,380); EX-5432 (CN 101473604B); EX-5433 (JP 4,903,861).
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -66-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 70 of 132 Page ID
                                  #:96424


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 20           178. Dr. Kakaes is incorrect. A buffer fill interval can be the value zero. Dr.
 21   Kakaes has pointed to nothing in the specification or prosecution history to suggest
 22   otherwise. In fact, he has pointed to nothing at all to support this claim
 23   construction. Regardless, in mathematics, intervals can have one number, and are
 24   then denoted as [a, a] or {a} to indicate that the interval contains (only) number a.
 25   Such an interval is called a “degenerate interval”.
 26           179. Thus, all indexes of the 4G standard point to an interval, including the
 27   90
           Kakaes Opening Statement Appendix, EX-1639 at A-P22430_4G.
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -67-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 71 of 132 Page ID
                                  #:96425


  1   particular interval with one element indicating that the buffer is empty. The 4G
  2   standard therefore practices this limitation. Each of the buffer interval levels
  3   defined with an index number between 0 and 63 provides the buffer interval level.
  4   For example, the index “1” designates that the buffer interval level is greater than
  5   zero but less than or equal to 10 bytes as shown in the chart above. The P22430
  6   family is therefore essential to the 4G standard.
  7                13.    P23034
  8         180. The thirteenth patent family is the P23034 patent family. It relates to
  9   security in the 4G standard and particularly to the encryption of messages between
 10   the handset and the base station. Having strong security solutions in cellular
 11   communication is absolutely vital, as the signal is literally “in the air” for anyone to
 12   analyze. Still, the content transmitted over the air interface should not be open to
 13   anyone except to the intended receiver. In other words, the messages must be
 14   encrypted in a way that only the intended receiver can open them. To decrypt a
 15   message, both the base station and handset need to know the keys and other input to
 16   security that are used to encrypt the original message. As discussed before,
 17   sequence numbers are used as unique input to the encryption algorithm. However,
 18   to maintain security, it is well known and vital that every combination of inputs to
 19   encryption is used only once, otherwise there is a risk that security could be
 20   compromised. Sequence numbers have limited length, however. In case of a
 21   sequence number roll-over (i.e., the sequence number starts over from “zero” again)
 22   the same sequence number would be used again. This is not acceptable from a
 23   security perspective.
 24         181. The patented technology creates an encryption solution that uses a
 25   hierarchical approach of separating different levels of counters as input to the
 26   encryption process. By this patented method, it is possible to ensure that the input
 27   to the encryption process is always unique without the need for frequent re-
 28   authentication to generate new base keys, such as KASME in 4G. This result is
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -68-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 72 of 132 Page ID
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  1   achieved by, in addition to the afore-mentioned packet sequence number, having a
  2   state transition counter, handover counter, and overflow counter that interact as
  3   claimed, and that are used as input to the algorithm for encrypting the signaling
  4   messages.
  5           182. Ericsson provided a claim chart to TCL that outlines precisely where
  6   the claimed elements of claim 1 of U.S. 8,879,736 are practiced by the 4G
  7   standard.91 Dr. Kakaes disputes that the P23034 patent family is essential to 4G,
  8   making a variety of mistakes that I explain below.
  9           183. Dr. Kakaes makes one argument to support his conclusion of non-
 10   essentiality. He argues that claim 1 of U.S. Patent No. 8,879,736 is not essential to
 11   the 4G standard because the 4G standard does not require practicing the following
 12   claim limitation: “providing one or more outputs from the state transition counter,
 13   the handover counter, and the third overflow counter as one or more inputs to a
 14   crypto algorithm for encrypting RRC messages.” More specifically, Dr. Kakaes
 15   argues that the “inputs” identified as inputs to a crypto algorithm are not “outputs
 16   from the state transition counter, the handover counter, or the third overflow
 17   counter” as required by the claim language:
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 25           184. I note that Dr. Kakaes does not disagree that (a) the claimed “state
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           EX-5209; EX-5434 (U.S. 8,879,736).
 27   92
           Kakaes Opening Statement Appendix, EX-1639 at A-P23034_4G.
 28
                                                    CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -69-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 73 of 132 Page ID
                                  #:96427


  1   transition counter” is the NAS COUNT in the 4G standard, (b) the claimed
  2   “handover counter” is the “Next Hop Chaining Counter” or “NCC” in the 4G
  3   standard, or (c) the claimed “overflow counter” is the “Hyper Frame Number” or
  4   “HFN” in the 4G standard. Instead, Dr. Kakaes suggests that the outputs of one or
  5   more of these counters is not input to the crypto algorithm. Dr. Kakaes’s position
  6   appears meritless, and Ericsson explicitly shows in its claim chart that the counters
  7   (a) NAS COUNT, (b) NCC, and (c) HFN are all inputs to the crypto algorithm as
  8   claimed. It seems Dr. Kakaes ignores this proof.
  9          185. As shown in Ericsson’s claim chart, the handset uses the (a) NAS
 10   COUNT and (b) NCC as input to determine the key that is used for encryption of
 11   signaling messages (KRRCenc), which is the key “(1) KEY” cited by Kakaes (and
 12   in the chart).
 13          Regarding NAS COUNT it is seen from the following excerpt from the chart:
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                                                    CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -70-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 74 of 132 Page ID
                                  #:96428


  1         Regarding NCC, it is seen from the following two excerpts:
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 17         And, as cited from TS 33.401, the hierarchy for key chaining and required
 18   input is illustrated as follows:
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 27         93
                 EX-5209.
 28
                                                  CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                         -71-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
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                                  #:96429


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 14           186. Finally, Ericsson’s claim chart shows that (c) HFN is included in “(2)
 15   COUNT”, as also seen from the excerpt from the chart below:
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      94
 27        EX-5425 (3GPP TS 33.401) at Figure 7.2.8.1-1.
              95
                 EX-5209.
 28
                                                   CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                          -72-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 76 of 132 Page ID
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  1         187. Thus, I find no basis for Dr. Kakaes’s allegations that the claim would
  2   not be essential. The P23034 family is therefore essential to the 4G standard.
  3                14.    P23563
  4         188. The fourteenth patent family is the P23563 patent family. It relates to a
  5   solution where the handset is instructed to perform its neighbor cell measurements
  6   over a particular bandwidth. In telecommunication systems, network coverage is
  7   split into “cells.” Communication in a cell is controlled by a base station, which the
  8   handsets connect to in order to connect to the network. As discussed previously,
  9   when a handset moves from one cell to another it is called “handover.” In general,
 10   handsets are required to perform measurements on the neighboring cells. These
 11   measurements include, for example, signal strength and timing measurements.
 12   These measurements are reported by the handsets back to the network and are used
 13   for making handover decisions and geo-location, among other things. For example,
 14   the handsets provide these reports so the system can make an intelligent decision to
 15   have the handset’s connection be “handed over” to a neighboring cell when that cell
 16   appears to be better for that particular handset.
 17         189. In prior systems, such as 2G and 3G, the handset would make
 18   neighboring cell measurements over the entire bandwidth. The reason for
 19   measuring the entire bandwidth is because in these earlier technologies, the channel
 20   is only sent over one bandwidth in all the cells (200 kHz in 2G and 5 MHz in 3G).
 21   However, one requirement of 4G was to enable the technology over different cell
 22   bandwidths, since operators need to be able to use the 4G technology in different
 23   fragmented spectra. An operator does not necessarily have a 20 MHz available and
 24   might need to aggregate carriers (e.g., 2 x 10 MHz) of narrower bandwidth to
 25   achieve the desired performance. Several transmission bandwidths are possible,
 26   including 1.4 MHz, 3 MHz, 5 MHz, 10 MHz, 15 MHz, and 20 MHz. The patented
 27   technology takes this difference into account and creates an efficient way for
 28   handsets to make neighboring cell measurements. More specifically the P23563
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -73-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
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  1   patent family relates to a system in which the handset receives a message from the
  2   base station telling the handset which bandwidth to measure. The handset then
  3   performs the requested measurements and sends the measurement information back
  4   to the network via the base station. This is important for ensuring that these
  5   measurements are consistently made, even where the different cells might operate
  6   in different bandwidths. This ensures consistent reporting, and enables the network
  7   to make smart handover decisions. The issue of having cells with different
  8   bandwidths is illustrated in TS 36.300, scenarios B, C, D and E:
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 21           190. Ericsson provided a claim chart to TCL that outlines precisely where
 22   the claimed elements of claim 1 of U.S. 8,503,942 and claim 11 of CN 101595746
 23   are practiced by the 4G standard.97 Dr. Kakaes disputes that the P23563 patent
 24   family is essential to 4G, making a variety of mistakes that I explain below.
 25           191. Dr. Kakaes makes one argument to support his conclusion. In
 26
      96
           EX-5418 (TS 36.300 V8.12.0) at Figure 10.1.3-1.
 27   97
           EX-366 and EX-5146.
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -74-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 78 of 132 Page ID
                                  #:96432


  1   particular, he argues that the essentiality of the claims depends on the claim
  2   construction of “an indication of a variable sized common measurement
  3   bandwidth.”98 Dr. Kakaes argues that the proper construction of the phrase is “a
  4   value of a variably sized common measurement bandwidth.”99 Dr. Kakaes then
  5   appears to argue that a handset can choose to determine RSRP over a smaller
  6   bandwidth than the signaled allowed bandwidth. It seems Dr. Kakaes argues that a
  7   handset that does not measure for RSRP over the whole maximum allowed
  8   measurement bandwidth will not use the claimed method.
  9         192. Dr. Kakaes gives no justification for his claim construction. He cites
 10   no portions of the specification of prosecution history; he cites no evidence
 11   whatsoever. In fact, there is no reason to limit the claim element “an indication of a
 12   variable sized common measurement bandwidth” to “a value of a variably sized
 13   common measurement bandwidth.” The patent specification states that “the
 14   network can signal any suitable measurement bandwidth parameter that would
 15   ensure that UE measurements one according to this parameter[] are consistent from
 16   different cells.” U.S. 8,503,942 at 4:60-64.100 As a result, the base station does not
 17   have to send a “value,” it can send “any suitable parameter.” Dr. Kakaes’s claim
 18   construction is wrong.
 19         193. Further, Dr. Kakaes is wrong that a handset measuring a subset of the
 20   common bandwidth does not infringe the claims. The claims do not require the
 21   handset to measure over the whole maximum allowed measurement bandwidth.
 22   Therefore, a UE that would choose to measure a subset of resource blocks within
 23   the AllowedMeasBandwidth would infringe the claim limitation “performing
 24   measurements on each of the neighbor cells over the common measurement
 25
      98
 26      Kakaes Opening Statement Appendix, EX-1639 at A-P23563_4G.
      99
         Id.
 27   100
          EX-4414.
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -75-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 79 of 132 Page ID
                                  #:96433


  1   bandwidth.” This is because measuring a subset of the common measurement
  2   bandwidth is still measuring “over the common measurement bandwidth” as
  3   required by the claim language.
  4           194. Finally, even if Dr. Kakaes’ argument were correct (i.e., that a solution
  5   where a handset would measure “over the […] bandwidth” but not “over the whole
  6   […] bandwidth” would be a non-infringing alternative), it is incomplete. Ericsson’s
  7   claim chart shows that two different measurements—RSRP and RSRQ—practice
  8   Ericsson’s P23563 patented technology, as shown in Ericsson’s claim chart below:
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 15           195. Dr. Kakaes only challenges the essentiality for RSRP. In particular, he
 16   refers to TS 36.214 section 5.1.1, that includes a note for RSRP measurements that
 17   leave it up to the handset implementer to decide over how many resource blocks
 18   within the AllowedMeasBandwidth that the handset considers when performing the
 19   RSRP measurements:
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 27   101
            EX-5148.
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -76-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 80 of 132 Page ID
                                  #:96434


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 11            196. However, he cannot make the same argument for RSRQ, which is also
 12   a mandatory measurement that the handset must implement. Notably the same
 13   specification (TS 36.214) section 5.1.3 does not include any such comment for
 14   RSRQ:
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 24                                                                                               103

 25
 26
      102
            EX-5435 (TS 36.214) V8.7.0 § 5.1.1
 27   103
            Id. at § 5.1.3.
 28
                                                   CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                          -77-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 81 of 132 Page ID
                                  #:96435


  1         197. Signal Power (RSRP) may potentially be estimated with a sufficient
  2   accuracy without measuring on all blocks, as frequency selective fading within a
  3   band may not be that prominent, particularly within narrower bands. However,
  4   Signal Quality (RSRQ) cannot be estimated without sampling the whole band, as
  5   interferers might influence the quality of only a subset of the carrier frequencies.
  6   While signal power (RSRP) may be estimated from a subset of resource blocks,
  7   quality (RSRQ) must be evaluated over all relevant resource blocks. Thus, RSRQ
  8   measurements must be performed over the bandwidth as signaled by the network.
  9   Therefore, the P23563 patent family is essential to the 4G standard.
 10                15.    P23985
 11         198. The fifteenth patent family is the P23985 patent family. It relates to a
 12   solution that relates to the interplay between Discontinuous Reception and
 13   Transmission (DRX) and Hybrid Automatic Repeat reQuest (HARQ). It enables the
 14   handset to save power while the handset is waiting for an HARQ retransmission.
 15   As I described with respect to an earlier patent family, DRX means that the handset
 16   can reduce power consumption by disengaging the receiver at times when no
 17   transmissions are expected by not constantly monitoring for assignments on the
 18   downlink control channel (PDCCH).
 19         199. In HARQ, the handset sends a negative acknowledgement (NACK) to
 20   the base-station if the handset was unable to correctly decode the received
 21   information. In response, the base-station re-sends the information. This re-
 22   transmission can occur after a certain amount of time, as it takes time for the
 23   NACK to be decoded in the base station, and for the re-transmission to be
 24   scheduled. The inventors realized that this delay can offer the handset an
 25   opportunity for discontinuous reception until the re-transmission is expected.
 26         200. Ericsson provided a claim chart to TCL that outlines precisely where
 27   the claimed elements of claim 1 of U.S. 8,675,568 are practiced by the 4G
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -78-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 82 of 132 Page ID
                                  #:96436


  1   standard.104 Dr. Kakaes disputes that the P23985 patent family is essential to 4G,
  2   making a variety of mistakes that I explain below.
  3            201. He makes one main argument for non-essentiality, suggesting that the
  4   claim element “non-listening state,” when “properly” construed, is not practiced by
  5   the 4G standard. Dr. Kakaes starts by suggesting the essentiality of the claim
  6   depends on the proper claim construction of “non-listening state.” However, he
  7   gives no construction for this term, nor does he cite any evidence to support any
  8   supposed construction. As an initial matter, Ericsson’s construction of the term
  9   “non-listening state” is consistent with the patent specification, which states that the
 10   “non-listening state” is “a state during which the UE [handset] does not listen for
 11   data from its controlling node.”105
 12            202. This is the extent of Ericsson’s claim construction—that “non-listening
 13   state” means “a state during which the UE [handset] does not listen for data from its
 14   controlling node.” Ericsson does not suggest, as Dr. Kakaes argues, that “non-
 15   listening” would relate to a specific HARQ process. Dr. Kakaes’s argument does
 16   not make sense as a technical matter. A handset cannot limit its listening to a
 17   specific HARQ process; listening or not listening is purely associated with the
 18   PDCCH channel, as this is scheduling “data from its controlling node.” Since
 19   HARQ in the downlink is asynchronous, it is not possible for a handset to apply a
 20   “not listening for the corresponding HARQ process”. The claim is therefore
 21   infringed as properly construed, as demonstrated in Ericsson’s claim chart.
 22            203. Dr. Kakaes next argues that claim 1 of U.S. 8,675,568 is not essential
 23   to the 4G standard because the 4G standard does not include a “non-listening state”
 24   as “properly” construed as shown below:
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 26
      104
            EX-5150.
 27   105
            EX-4417 (U.S. 8,675,568) at 2:39-43.
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -79-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 83 of 132 Page ID
                                  #:96437


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 27   106
            Kakaes Opening Statement Appendix, EX-1639 at A-P23985_4G.
 28
                                                  CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                         -80-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 84 of 132 Page ID
                                  #:96438


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 13               204. Dr. Kakaes’s analysis is flawed for several reasons. Dr. Kakaes takes
 14   the fact that Ericsson’s claim only reads on certain situations in the standard, and
 15   confuses that with a construction of claim elements. There are multiple timers and
 16   criteria in the 4G standard that govern the DRX of the handset, and the process
 17   described by this claim is used in a certain subset of situations. The fact that other
 18   situations exist, that do not infringe the claim, do not render the claim non-essential.
 19               205.   Rather, infringement occurs inevitably when a handset complies with
 20   the 4G standard as described by the technical specifications. The claim come into
 21   use for example, when only a relatively small amount of data is sent to the handset,
 22   and a single grant for a HARQ process is allocated, and the onDurationTimer is not
 23   initiated due to a periodic DRX listening event. Regardless of whether
 24   infringement occurs every time a NACK is sent, infringement inevitably occurs
 25   based on the requirements of the standard. Therefore, the P23985 patent family is
 26   essential to the 4G standard.
 27   107
            Id.
 28
                                                        CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                               -81-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 85 of 132 Page ID
                                  #:96439


  1                 16.   P24557
  2           206. The sixteenth patent family is the P24557 patent family. The P24557
  3   patent family relates to a frequency numbering scheme in systems using a plurality
  4   of bands. A frequency “band” may contain multiple frequency channels over which
  5   communications may be transmitted. A handset might use multiple frequencies,
  6   depending on the mode in which it is operating, and the base station might instruct
  7   the handset to use different frequencies. The unique identifiers are used in this
  8   process, to make the handset aware of different/new frequencies and instruct the
  9   handset to handover to another frequency.
 10           207. The patented technology includes a method for numbering radio
 11   frequency channels in an efficient way that reduces overhead signaling. This
 12   method allows consistency across different types of frequencies.
 13           208. Ericsson provided a claim chart to TCL that outlines precisely where
 14   the claimed elements of claim 1 of U.S. 8,195,179 are practiced by the 4G
 15   standard.108 Dr. Kakaes disputes that the P24557 patent family is essential to 4G
 16   and he makes one argument to support his conclusion of non-essentiality. He argues
 17   that claim 1 of U.S. 8,195,179 is not essential to the 4G standard because the
 18   handset does not perform the “assigning” in the claim limitations, as shown in the
 19   excerpt from his appendix below:
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 27   108
            EX-5158.
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -82-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 86 of 132 Page ID
                                  #:96440


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 10           209. There are some patent families (discussed above) where Dr. Kakaes
 11   states the technology is not directed at a handset, and he is correct. Those patent
 12   families are not part of Ericsson’s handset licensing portfolio, and I discussed them
 13   previously. He is incorrect, however, about the P24557 patent family. First, Kakaes
 14   does not appear to dispute essentiality of the claim, as he does not contest that the
 15   claimed assignments are required by the standard. Dr. Kakaes only alleges that it is
 16   not the UE that performs the assigning steps. Thus, the remaining question is
 17   whether the essential claim limitations are implemented in the handset (or
 18   elsewhere) fully or in part, i.e., whether TCL’s handsets are required to implement
 19   and comply with the standard such that it benefits from the invention.
 20           210. Looking at figure 4 and column 6, lines 26-47 of the ‘179 patent, it is
 21   clear that the handset can assign the concerned numbers to the frequencies as
 22   required by the claim:
 23
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 27   109
            Kakaes Opening Statement Appendix, EX-1639 at A-P24557_4G.
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -83-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 87 of 132 Page ID
                                  #:96441


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            EX-4411 (U.S. 8,195,179) at Figure 4.
 27   111
            Id. at 6:26-47.
 28
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -84-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 88 of 132 Page ID
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  1         211. The patent makes it clear that the assigning occurs in software in the
  2   handset (as well as in the base station).
  3         212. The second assigning step (“assigning an in-band number”) is also
  4   performed by the handset. Dr. Kakaes appears to argue that there is a difference
  5   between the phrase “is assigned” and the term “assigning” as used in the claim. He
  6   provides no explanation of the difference, or what his interpretation of “assigning”
  7   is such that it precludes infringement. However, it is clear from the specification
  8   that the phrase “is assigned” is synonymous with the claim term “assigning.” For
  9   example, the Abstract states that “each frequency channel is assigned a primary
 10   (global) number and a secondary (in-band) number.” In the summary of the
 11   invention, the specification states that “a global number to a primary frequency of a
 12   first band is assigned” and . . . [a]n in-band number is further assigned to a
 13   secondary frequency within the at least the second frequency band.”112 And in
 14   several places the specification states that the global number and in-band number
 15   are or may be “assigned.”113Moreover, the fact that the in-band number is assigned
 16   in the first instance by an entity other than the handset does not preclude the
 17   handset from assigning the in-band number as required by the claims. In fact, that is
 18   what the specification contemplates as part of the patented invention. The
 19   frequency assignments are first assigned by the standards bodies.114 However, the
 20   base station and handset a later responsible for assigning those numbers to
 21   themselves as well.115 Ericsson’s claim chart demonstrates this assignment by
 22   stating that the SCell short identity SCellIndex is assigned to the UE (handset). Said
 23   another way, the handset assigns the SCell short identity SCellIndex even though
 24   112
          EX-4411 (U.S. 8,195,179) at 2:57-63.
      113
 25       Id. at 4:18-20; 4:30-31; 2:61-63; 5:32-35.
      114
          Id. at 6:29-31 (“the actual frequency assignments are made by standardisation
 26   bodies, but both the radio base station and the UE [handset] needs to be aware of
      the specified assignments.”).
 27   115
          Id.
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -85-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 89 of 132 Page ID
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  1   this information is assigned in the first instance by another entity. I therefore
  2   disagree with Dr. Kakaes. The P24557 family is essential to the 4G standard.
  3                17.    P25005
  4         213. The seventeenth patent family is the P25005 patent family. It relates to
  5   a particular time alignment process to reduce interference in certain scenarios.
  6   While radio signals are fast, it takes some time for a radio signal from a handset to
  7   reach the base station. This propagation delay is therefore dependent on the distance
  8   from the handset to the base station. Consequently, the handsets must implement
  9   variable “timing offsets” so that transmissions from each handset, regardless of
 10   distance to the base station, are received at the base station precisely at the expected
 11   time-slot without the signal leaking over and interfering with the transmission of
 12   some other handset. As the handset moves, the timing offset may have to be
 13   adjusted.
 14         214. In 4G, the handset receives a timing offset during the Random Access
 15   procedure. Random Access is used, for example, when a handset requests a
 16   connection. However, Random Access can also be used by the handset for
 17   requesting additional transmission resources, in which case the handset may already
 18   be time-synchronized. In other words, the handset has a valid timing offset.
 19   However, Random Access is subject to contention, meaning that the received time
 20   alignment may actually have been intended for another handset. The inventors of
 21   P25005 then realized that, for existing technologies an already time-aligned handset
 22   could become improperly aligned through the Random Access procedure if it loses
 23   this contention.
 24         215. The patented technology solves this problem by creating a solution
 25   where the handset retains its original alignment after completing the random access
 26   procedure. The handset with a valid time-alignment will not use the timing
 27   advance sent during the random access messaging process. Instead, it will continue
 28   to use its previous timing advance value.
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -86-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
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                                  #:96444


  1           216. Ericsson provided a claim chart to TCL that outlines precisely where
  2   the claimed elements of claim 1 of both JP 4,870,838 and CN 101849366A are
  3   practiced by the 4G standard.116 Dr. Kakaes disputes that the P25005 patent family
  4   is essential to 4G, making mistakes that I explain below.
  5           217. He makes one argument to support his conclusion of non-essentiality.
  6   In particular, Dr. Kakaes argues the claims are not essential to the 4G standard
  7   because the 4G standard does not require practicing the following claim
  8   limitation:“the user terminal (120, 130) uses (523, 534) the first timing advance
  9   value if the user terminal loses the contention based procedure, i.e. if the controlling
 10   node subsequently continues the initiated communication with another user
 11   terminal.” In particular, Dr. Kakaes appears to think that Ericsson has construed the
 12   element above to mean: “the user terminal (120, 130) uses (523, 534) the first
 13   timing advance value” as can be seen below:
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 21           218. Ericsson has done no such thing. Ericsson has not rewritten the claim
 22   language; it is applied as written to the 4G standard as shown in Ericsson’s claim
 23   chart below:
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      116
            EX-369 and EX-5169.
 27   117
            Kakaes Opening Statement Appendix, EX-1639 at A-P25005_4G.
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -87-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 91 of 132 Page ID
                                  #:96445


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 13           219. Dr. Kakaes does not seem to dispute that the handset uses the first
 14   timing advance value if the user terminal loses contention, as claimed. As shown in
 15   the chart, if the “timeAlignmentTimer” is running, the handset already has a first
 16   timing advance value as required by the claim. When the handset already has a
 17   valid first timing advance value, it will “ignore the received Timing Advance
 18   Command.” Thus, the disputed claim element is practiced by a handset complying
 19   with the 4G standard.
 20           220. It appears that Dr. Kakaes tries to read the independent claim element
 21   more narrowly than its ordinary meaning. While Dr. Kakaes does not appear to
 22   dispute that a compliant terminal uses the first timing advance value if the user
 23   terminal loses contention as the claim requires, he constructs an interpretation of the
 24   independent claim that would also define that the UE uses the first timing advance
 25   if the user terminal wins contention. But this is not the scope of the independent
 26   claim. In fact, this embodiment is introduced in dependent claim 4 (translated from
 27   118
            EX-369; EX-5456 (3GPP TS 36.321 v8.11.0).
 28
                                                    CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -88-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 92 of 132 Page ID
                                  #:96446


  1   Japanese):
  2           4. The method of claim 1, according to which (531) the user terminal
  3           uses the first timing advance value (TTA1) if the user terminal wins
              the contention based procedure.119
  4
  5           221. While this embodiment in claim 4 is also essential to the standard, it is
  6   not correct by Dr. Kakaes to imply that it would be a limitation of independent
  7   claim 1, when it is not. This patent family is therefore essential to the 4G standard.
  8                 18.    P25949
  9           222. The eighteenth patent family is the P25949 patent family. It relates to
 10   how a handset can efficiently connect to different carriers when the network
 11   implements carrier aggregation. As I described previously, carrier aggregation
 12   enables aggregating multiple pieces of bandwidth together to create a larger
 13   (overall) amount of bandwidth available in the network. Aggregating multiple
 14   carriers is particularly beneficial for handsets that currently are in need of very high
 15   bit-rates. However, this need is typically intermittent, and engaging multiple
 16   receivers to continuously receive over multiple carriers will waste battery power if
 17   all carriers are not currently needed. Thus, the radio receivers of a handset tuned
 18   onto currently not needed carriers should be set into power conservation mode
 19   (“sleep mode”). However, there is also a need to activate additional carriers very
 20   quickly whenever needed, as this will enhance the user experience because data will
 21   traverse with maximum speed as quickly as possible.
 22           223. The patented technology provides a carrier activation mechanism,
 23   where the handset can prepare its front-end for multi-carrier reception based on a
 24   notification received from the base station. This is achieved through a pre-
 25   determined activation delay, wherein this delay is sufficient for the handset to
 26   activate the receiver of the second carrier.
 27   119
            EX-5436.
 28
                                                       CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -89-     CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
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                                  #:96447


  1         224. Ericsson provided a claim chart to TCL that outlines precisely where
  2   the claimed elements of claim 11 of EP 2,260,667 are practiced by the 4G
  3   standard.120 Dr. Kakaes disputes that the P25949 patent family is essential to 4G,
  4   making a variety of mistakes that I explain below.
  5         225. He makes two main arguments to support his conclusion. The first is
  6   that Ericsson has not pointed to anything in the standard that meets the “first data
  7   part” claim element, and the second argument he makes is that since the 4G
  8   standard only practices Ericsson’s patent in some scenarios, it is not essential.121
  9         226. With respect to the first argument, Dr. Kakaes argues that claim 11 of
 10   EP 2,260,667 is not essential because Ericsson has not pointed to anything in the
 11   4G standard that practices the following claim element: “a first data part of the DL
 12   data is received over the first carrier, and after a predetermined delay, a second data
 13   part of the DL data is received over the second carrier, wherein the predetermined
 14   delay is an amount of time sufficient for the user equipment (220) to prepare to
 15   receive over the second carrier.”122 Specifically, he alleges that the 4G standard
 16   does not require “wherein the predetermined delay is an amount of time sufficient
 17   for the user equipment (220) to prepare and receive over the second carrier.”123
 18         227. This is wrong. Ericsson’s claim chart does, in fact, show the mapping
 19   of the “predetermined delay” to the standard specification, as shown below:
 20
 21
 22
 23
 24
 25   120
          EX-5183; EX-5457 (EP 2,260,667)
      121
 26       Kakaes Opening Statement Appendix, EX-1639 at A-P25949_4G.
      122
          Id.
 27   123
          Id.
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -90-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 94 of 132 Page ID
                                  #:96448


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  8           228. The claimed “pre-determined delay” is the amount of time specified in
  9   the 4G standard to prepare to receive data over the SCell. This mapping is
 10   consistent with the meaning of the term “predetermined delay” in EP 2,260,667.
 11   For example, paragraph 0029 of the patent states: “When data parts are to be
 12   transferred over non-anchor carriers, it is only necessary for the predetermined
 13   delay be at least as long as an amount of time the user equipment 220 needs to
 14   prepare to receive signals on that non-anchor carrier.” Therefore, the predetermined
 15   delay is the time from the reception of the notification to the time when the handset
 16   is prepared to receive data on the non-anchor carrier (SCC). As a result, Ericsson
 17   does point to what it believes meets the “predetermined delay” claim element in the
 18   4G standard, and provides further explanation in the comment section as well. After
 19   this predetermined delay, the handset can be scheduled to receive data also on the
 20   non-anchor carrier.
 21           229. With respect to his second argument, Dr. Kakaes appears to argue that
 22   subsequent SCells do not need to be activated over the PCell as the claim requires,
 23   i.e., once you have activated one SCell, you can activate subsequent SCells using
 24   the first SCell (instead of the PCell):
 25
 26
 27   124
            EX-5183; EX-5437 (3GPP TS 36.213 V10.10.0).
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -91-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 95 of 132 Page ID
                                  #:96449


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  8           230. However, activating a second SCell, via the first SCell requires that the
  9   first SCell has already been activated over the PCell, and infringement could only
 10   be avoided for subsequent SCells by this approach. But then, infringement has
 11   already occurred. So even if Dr. Kakaes is correct that in his hypothetical scenario
 12   (where the activation of a second SCell would not require the claimed solution), the
 13   infringing activation of the first SCell has necessarily already occurred (so the
 14   hypothetical handset has already practiced the patent). With this example, Dr.
 15   Kakaes misses the point. The 4G standard, of course, includes many different
 16   modes of operation. Just because a claim is not infringed in one particular mode
 17   does not mean does not mean the claim is not infringed by other modes. In such a
 18   case, the claim is essential. As described above, this claim is necessarily practiced
 19   when a first SCell is activated.
 20           231. Further, a handset must be prepared to activate all SCells by a
 21   notification on the PCell, where the base station decides where to send the
 22   notification. So a handset cannot be configured to avoid infringement of this claim
 23   and still comply with the 4G standard, and the hypothetical scenario is also void.
 24           232. Dr. Kakaes also contends that Ericsson conflates receiving a part of the
 25   DL Data with Activation, and claims that these are not the same as shown in his
 26   appendix:
 27   125
            Kakaes Opening Statement Appendix, EX-1639 at A-P25949_4G.
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -92-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 96 of 132 Page ID
                                  #:96450


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  8           233. This is incorrect. As shown in Ericsson’s claim chart, the handset
  9   must, when the SCell is activated, monitor PDCCH for the SCell:
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 16   127

 17
 18           234. Thus, after the claimed activation time, the handset must be prepared
 19   to receive DL data as scheduled using commands on the PDCCH by the base
 20   station, and the handset cannot avoid receiving the DL data by choice, and still
 21   comply with the standard. This patent family is therefore essential to the 4G
 22   standard.
                    19.   P25990
 23
 24           235. The nineteenth patent family is the P25990 patent family. It relates to a
 25   solution of sending scheduling requests for requesting uplink resources. The
 26
      126
            Kakaes Opening Statement Appendix, EX-1639 at A-P25949_4G.
 27   127
            EX-5183; EX-5438 (3GPP TS 36.321 V10.9.0).
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -93-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 97 of 132 Page ID
                                  #:96451


  1   “uplink” refers to the pathway for sending data from the handset to the base station.
  2   When the handset has information it wants to send to the base station, it can send a
  3   scheduling request to inform the base station’s uplink scheduler that it needs uplink
  4   resources. It can either do this via a random access request, or on a dedicated
  5   resource allocated on a Physical Uplink Control Channel (PUCCH). Generally, the
  6   handset is allocated uplink resources based on its momentary needs, but 4G also
  7   includes a solution for pre-allocating periodically occurring transmission resources.
  8   Such allocations can be useful for voice calls, as the pattern of the information that
  9   needs to be transmitted follows a fairly stable pattern.
 10           236. The problem solved by the patent occurs when the arrival of some data
 11   at the handset buffers require a scheduling request, while other data do not. For
 12   example, if the data is related to a voice call for which pre-allocated resources exist,
 13   it would be superfluous to request additional resources, and such a request would
 14   only waste the additional resources that the base station would allocate.
 15           237. In the claimed solution, the handset analyzes the data that is to be
 16   transmitted, and it is determining a logical channel group to which the data belongs,
 17   and based on the determination, the handset avoids sending a scheduling request if
 18   the logical channel group data corresponds to a data flow for which no scheduling
 19   requests should be sent.
 20           238. Ericsson provided a claim chart to TCL that outlines precisely where
 21   the claimed elements of claim 21 of U.S. 8,582,514 are practiced by the 4G
 22   standard.128 Dr. Kakaes disputes that the P25990 patent family is essential to 4G,
 23   making a variety of mistakes that I explain below.
 24           239. He makes two arguments, both related to the term and the claim
 25   limitations associated with “logical channel group.” First, Dr. Kakaes says that the
 26   4G standard does not make a determination on a logical channel group basis, as
 27   128
            EX-5185; EX-5439 (U.S. 8,582,514)
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -94-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 98 of 132 Page ID
                                  #:96452


  1   shown below in his appendix:
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 21           240. In summary, Dr. Kakaes asserts that the 4G standard requires that a
 22   handset makes the relevant determinations on a logical channel basis instead of per
 23   logical channel group basis.
 24           241. Dr. Kakaes is incorrect. Ericsson’s claim chart clearly shows that the
 25   “determining” step is required by the standard, as the handset must determine the
 26
      129
            Kakaes Opening Statement, EX-1639 at A-P25990_4G.
 27   130
            Id.
 28
                                                    CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -95-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 99 of 132 Page ID
                                  #:96453


  1   LCG associated with the data:
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  9           242. He also misreads the step from the claim, which states: “delaying
 10   transmission or not transmitting an uplink transmission scheduling request to the
 11   network if the determined LCG is a second different LCG,” by not considering the
 12   claims own characterization of the second LCG data: “wherein the second LCG
 13   data corresponds to a data flow configured not to send a scheduled request.” Thus,
 14   the claim language should be construed such that the data flow (such as a logical
 15   channel) is configured such that no scheduling request should be sent. In contrast to
 16   Dr. Kakaes’s opinion, the claim does not per-se require that the second LCG be
 17   configured such that no scheduling request should be sent for all data flows of the
 18   group (even though it is a very likely configuration). Therefore, the claim is
 19   essential, as stated.
 20           243. Dr. Kakaes’s second argument relates to the “delaying” step, as can be
 21   seen below.
 22
 23
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 27   131
            EX-5185; EX-1438 (TS 36.321 V9.3.0).
 28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -96-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 100 of 132 Page ID
                                   #:96454


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  15           244. I find no merit in Dr. Kakaes argument. He alleges that the standard
  16   does not preclude transmission of scheduling requests if the data corresponds to a
  17   logical channel configured in a certain way. I understand his argument as stating
  18   that a handset maker can send a scheduling request in any way it chooses, even if it
  19   is outside of what is mandated by the 4G standard.
  20           245. Dr. Kakaes misunderstands the operation of the standard. It appears
  21   that Dr. Kakaes is implying that the standard only defines the instances and
  22   conditions under which the handset must trigger a scheduling request, but that the
  23   standard would not prevent the handset from sending additional scheduling requests
  24   at any other time at the discretion of the handset maker.
  25           246. This is wrong and it is an incorrect reading of the standard. A 4G-
  26   compliant handset must strictly obey the specified conditions that define when
  27   132
             Kakaes Opening Statement Appendix, EX-1639 at A-P25990_4G.
  28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -97-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 101 of 132 Page ID
                                   #:96455


   1   specific signals are to be sent. A 4G-compliant handset cannot arbitrarily decide to
   2   send specified messages without obeying the conditions set forth by the 4G
   3   standard. A consequence of sending scheduling requests at times when the standard
   4   does not allow them could be that the base station would allocate uplink resources
   5   that cannot efficiently be used, or that handsets would be allocated resources in an
   6   unfair way. The base station in its resource allocation must be able to trust that all
   7   received scheduling requests are indications of events as specified in the standard.
   8   The P25990 family is therefore standard essential.
   9                 20.   P27011
  10           247. The twentieth patent family is the P27011 patent family. It relates to
  11   controlling retransmissions in a synchronous hybrid ARQ system as used by a
  12   terminal, giving the network better scheduling flexibility. Hybrid ARQ is a form of
  13   ARQ where the retransmitted data is combined with the original transmission,
  14   rather than simply replacing it as in conventional ARQ. Thus, HARQ combines re-
  15   transmissions and error-correction coding to reduce the number of retransmissions,
  16   reducing latency, and saving network resources. HARQ is also useful for link-
  17   adaptation, as it can facilitate opportunistic scheduling over a fading link, wherein
  18   errors caused by fading are corrected by HARQ re-transmissions.
  19           248. Uplink HARQ re-transmissions are time-synchronous, which means
  20   that re-transmissions occur at fixed and periodic time intervals after the original
  21   transmission. To improve scheduling flexibility, the patent family therefore
  22   discloses solutions for deferring such re-transmissions, such that only channel
  23   quality information (CQI) is transmitted at the time when the re-transmission would
  24   otherwise have been transmitted.
  25           249. Ericsson provided a claim chart to TCL that outlines precisely where
  26   the claimed elements of claim 1 of EP 2,316,184 are practiced by the 4G standard.133
  27   133
             EX-5191; EX-5440 (EP 2,316,184).
  28
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                             -98-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 102 of 132 Page ID
                                   #:96456


   1   Dr. Kakaes disputes that the P27011 patent family is essential to 4G, making a
   2   variety of mistakes that I explain below.
   3         250. He makes one main argument based on the claim term “control
   4   message” and the “automatic deferring” responsive to the control message. More
   5   specifically, Dr. Kakaes argues that claim 1 of EP 2,316,184 is not essential
   6   because the 4G standard does not require practicing the claim element:
   7   “automatically deferring the synchronous HARQ retransmission to a second
   8   transmission interval, responsive to the control message.” As shown in his
   9   appendix below, Dr. Kakaes contends that there is no “control message” according
  10   to the claims, and, to the extent Ericsson points to a “control message,” it does not
  11   cause any “automatic deferring.”
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                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -99-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 103 of 132 Page ID
                                   #:96457


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  18           251. First, Dr. Kakaes is incorrect that Ericsson does not point to a “control
  19   message.” The control message corresponds to DCI format 0 of PDCCH. This can
  20   be seen below:
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  26                                                                                                     135

  27   134
             Kakaes Opening Statement Appendix, EX-1639 at A-P27011_4G.
  28
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -100-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 104 of 132 Page ID
                                   #:96458


   1         252. Second, the 4G standard performs the claimed “automatically
   2   deferring” based on that control message. Dr. Kakaes states that the control
   3   message “does not result in anything more than the UE not transmitting in the
   4   subframe corresponding to the one in which this message was received.” Dr.
   5   Kakaes further argues that the standard does not require any “deferral”, that there is
   6   no “second transmission interval,” and that the “responsive to the control message”
   7   limitation cannot be met, since nothing more than a non-transmission occurs as a
   8   result of the claimed message.
   9         253. Dr. Kakaes is again incorrect. As shown in the chart, even if the
  10   handset receives a NACK message that would require it to perform a re-
  11   transmission, the handset must suspend/postpone/defer the re-transmission to a later
  12   (second) transmission interval. This deferring takes place responsive to the control
  13   message, i.e., to the DCI format 0 of PDCCH and when there is no transport block
  14   for UL-SCH and only control information can be sent, as can be seen in Ericsson’s
  15   claim chart below.
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  19                                                                                              136

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  21         254. It appears that Dr. Kakaes construes the step “automatically deferring,”
  22   to mean something like automatically re-transmitting […] in a second interval,
  23   responsive to the control message, even though it is not the language of the
  24   limitation. Deferring means postponing, and, as can be seen in the standard, the
  25   result of the control message is that the handset postpones the re-transmission but
  26   ________________________
       135
           EX-5191; EX-1434 (TS 36.213 V8.8.0)
  27   136
           EX-5191; EX-1434 (TS 36.213 V8.8.0)
  28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -101-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 105 of 132 Page ID
                                   #:96459


   1   sends a CQI report, as commanded by the control message. Therefore, this patent
   2   family is essential to the 4G standard.
   3                 21.    P29482
   4           255. The twenty-first patent family is the P29482 patent family. It relates to
   5   efficient scheduling requests when a handset has not yet been successful in any of
   6   its requests. As I discussed previously, the “uplink” refers to the pathway for
   7   sending data from the handset to the base station. When the handset has information
   8   it wants to send to the base station, it can send a scheduling request to inform the
   9   base station’s uplink scheduler that it needs uplink resources. In early versions of
  10   4G, when a handset sends such a “scheduling request” to the base station over the
  11   Physical Uplink Control Channel (PUCCH), the request will be pending and re-
  12   transmitted at every transmission opportunity until the request is cancelled, e.g.,
  13   due to a response (in terms of a uplink grant) from the base station.
  14           256. However, this could result in excessive requests potentially resulting in
  15   wasted grants. This problem is particularly relevant for short periodicities of
  16   scheduling request opportunities, which were introduced in Release 9 of the 4G
  17   specifications to reduce the latency of 4G.
  18           257. Ericsson’s P29482 family solves this problem by preventing excessive
  19   re-transmissions of the requests using a timer-based solution. With this solution, it
  20   is possible to enable lower latency with fast requests and corresponding allocations
  21   of uplink resources without having the aforementioned unwanted side effects. Re-
  22   transmissions are still enabled by Ericsson’s patented technology after timer expiry,
  23   in the event that the original request was not successfully received.
  24           258. Ericsson provided a claim chart to TCL that outlines precisely where
  25   the claimed elements of claim 1 of each of U.S. 8,543,125 and EP 2,449,844 are
  26   practiced by the 4G standard.137 Dr. Kakaes disputes that the P29482 patent family
  27   137
             EX-5202 and EX-5199; EX-5441 and EX-5442 (U.S. 8,543,125, EP 2,449,844)
  28
                                                       CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -102-    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 106 of 132 Page ID
                                   #:96460


   1   is essential to 4G, making a variety of mistakes that I explain below.
   2           259. He makes one main argument regarding essentiality by referring to an
   3   opposition proceeding for the EP patent. In particular, Dr. Kakaes uses the EP
   4   opposition proceeding to conclude that the 4G standard does not require the
   5   following claim element: “prohibiting any further scheduling request retransmission
   6   at future scheduling request opportunities while the scheduling request prohibiting
   7   timer is running,” as shown below in Dr. Kakaes’s appendix:
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  17           260. In summary, Dr. Kakaes says that the U.S. patent claims should be
  18   construed based on statements from the European counterpart patent. First of all, I
  19   understand from Mr. Delgado that it is legal error to limit the construction of claim
  20   terms by importing limitations from extrinsic evidence, in this case by asserting that
  21   the European prosecution history would limit the claims of a United States patent.
  22           261. Second, Dr. Kakaes is wrong about how the standard works in arguing
  23   that it does not practice Ericsson’s patents. He suggests that the 4G standard does
  24   not require the claimed “prohibiting of retransmissions of scheduling requests.” As
  25   can be seen above, the opposition division found that prohibiting re-transmissions
  26   was patentable over prior art (D2a), since D2a prohibits the transmission of new
  27   138
             Kakaes Opening Statement Appendix, EX-1639 at A-P29482_4G.
  28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -103-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 107 of 132 Page ID
                                   #:96461


   1   scheduling requests, not the re-transmissions of an already sent scheduling request.
   2               262.   Thus, since the sr-ProhibitTimer prohibits re-transmissions, the claim
   3   is essential, and D2A did not disclose such prohibiting of re-transmissions,
   4   according to the European Patent Office.
   5               263. Dr. Kakaes then argues that the standard does not describe any
   6   prohibiting of re-transmissions:
   7
   8
   9                                                                                                     139
  10
  11               264. This is incorrect, and it has been clearly shown in the claim chart that
  12   such re-transmissions are indeed prohibited. This illustration will be repeated here
  13   for the sake of completeness: As shown below in Section 5.4.4, the standard works
  14   as follows: Initially, the handset has no data to transmit, and consequently no
  15   pending scheduling requests (SR). Then, data arrives to the handset buffers, which
  16   result in the triggering of a (new) scheduling request to request resources for a new
  17   transmission (as shown in yellow below). Then, when a new scheduling request is
  18   pending at the handset, it will check to see if it has a valid uplink resource
  19   (PUCCH) on which to send the scheduling request (shown in green). It will also
  20   check to make sure that the sr-ProhibitTimer is not running. Since this is a new
  21   scheduling request and the timer is not running, the handset will use its first
  22   PUCCH resource for SR available to transmit this new SR. This is good for latency
  23   purposes. Then, after the handset sends out the new scheduling request, it will start
  24   the sr-ProhibitTimer (shown in red). Once the sr-ProhibitTimer is started, then the
  25   handset is instructed not to send any retransmissions during this time. But the SR
  26   will remain pending until it is cancelled (yellow), and therefore the SR is re-
  27   139
             Id.
  28
                                                          CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                                -104-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
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                                   #:96462


   1   transmitted in every PUCCH resource for SR unless the sr-ProhibitTimer is
   2   running (see green: “As long as one SR is pending […]”).
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  16           265. In fact, 3GPP documentation of the addition of the sr-ProhibitTimer to
  17   the 4G standard makes clear that it is for preventing “unnecessary retransmissions
  18   by the UE.”
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                                                                                                       140
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  24           266. Thus, members of 3GPP understood that this Section 5.4.4 and the
  25   addition of the sr-ProhibitTimer is precisely for retransmissions, as claimed in
  26   Ericsson’s P29482 patent family. Thus, it is clear that a 4G-compliant handset does
  27   140
             EX-5443, CR 0410 in RP-091346.
  28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -105-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
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                                   #:96463


   1   “prohibit[] any further scheduling request retransmission at future scheduling
   2   request opportunities while the scheduling request prohibiting timer is running,” as
   3   claimed in Ericsson’s patents. The P29482 family is therefore essential to the 4G
   4   standard.
   5                22.    P32205
   6         267. The twenty-second patent family is the P32205 patent family relates to
   7   4G carrier aggregation, i.e., to the solution where multiple carriers are aggregated
   8   together in order to increase both bit-rates and resource allocation flexibility. Early
   9   versions of 4G (Releases 8 and 9) support bandwidths of up to 20 MHz. However,
  10   the newest versions of 4G (Releases 10 and onward) are capable of supporting
  11   bandwidths larger than 20 MHz through carrier aggregation.
  12         268. At a high level, this patent family relates to the process of adding
  13   additional cells for aggregation by a handset, also in a situation where the terminal
  14   cannot robustly detect the additional carrier. To enable heterogeneous cell
  15   configurations that include both macro (large) and pico (small) cells, the system
  16   may need to reduce the transmission power of certain signals in some cells (such as
  17   certain broadcast signals), to prevent those signals from interfering with similar
  18   signals of other cells. As a consequence, it may be difficult to detect those cells for
  19   the handset and/or to receive certain parameters.
  20         269. To enable such heterogeneous cell configurations and carrier
  21   aggregation, the invention provides a solution wherein the handset receives certain
  22   parameters (e.g., cell identity) over the primary cell, and derives relevant physical
  23   layer characteristics of a second cell (such as reference symbol mapping) to be
  24   aggregated with the primary cell. As a consequence, carrier aggregation can be
  25   established also when the handset cannot derive the physical layer characteristic
  26   from information broadcast within the second cell.
  27         270. Ericsson provided a claim chart to TCL that outlines precisely where
  28
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -106-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 110 of 132 Page ID
                                   #:96464


   1   the claimed elements of claim 1 of EP 2,583,398 are practiced by the 4G standard.141
   2   Dr. Kakaes disputes that the P32205 patent family is essential to 4G, making a
   3   variety of mistakes that I explain below.
   4           271. His makes one argument to support his conclusion of non-essentiality:
   5   that the claim term “required to establish communication,” when “properly”
   6   construed, is not practiced by the 4G standard. More specifically, Dr. Kakaes
   7   argues that claim 1 of EP 2,583,398 is not essential to the standard when the claim
   8   term “required to establish communication” is “properly” construed to mean “that
   9   the derived physical layer characteristic is necessary to establish connectivity to the
  10   second cell, i.e., connectivity to the secondary cell cannot be established without
  11   the physical layer characteristic as derived based on the cell identity and number of
  12   transmit antenna ports.”
  13           272. Regarding Dr. Kakaes’s claim construction, he misunderstands both
  14   the claim language and omits the most relevant portions of the patent specification
  15   in creating his construction. The relevant claim term for consideration is “at least
  16   one physical layer characteristic that is required to establish communication.” A
  17   portion of the specification that Dr. Kakaes does not consider tells a person of
  18   ordinary skill in the art exactly what these physical characteristics can be, as shown
  19   below:
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  27   141
             EX-370.
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                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -107-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 111 of 132 Page ID
                                   #:96465


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  11            273. The patent specification explicitly states that the reference signal
  12   configuration can be the “physical layer characteristic that is required to establish
  13   communication” as claimed. As shown in Ericsson’s claim chart, the handset is
  14   required to derive the reference signal configuration. The handset is further required
  15   by the standard to use the physical cell identity value (physCellId-r10) and the
  16   number of transmit antenna ports (antennaPortsCount) received from the first cell
  17   to derive the reference signal configuration. All of this is shown and commented in
  18   great detail in the claim chart.143 An example is shown below:
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       142
             EX-5444, EP 2,583,398 at ¶ 62.
  27   143
             EX-370.
  28
                                                        CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                              -108-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 112 of 132 Page ID
                                   #:96466


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  11         274. Dr. Kakaes further contends that cell identity of the SCell is not
  12   required to establish connectivity to the SCell, based on the description of a specific
  13   embodiment:
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       144
           EX-370, EX-5445 (3GPP TS 36.331 V10.7.0).
       145
           Kakaes Opening Statement Appendix, EX-1639 at A-P32205_4G.
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                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -109-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 113 of 132 Page ID
                                   #:96467


   1               275. This argument seems to lack any relevance at all, as the required
   2   characteristic to establish communication is the claimed physical layer
   3   characteristic. The claim nowhere tells that the SCell is required to establish
   4   connectivity. In the claimed embodiment, the received identity of the SCell must
   5   be used for deriving this physical layer characteristic, whereas in the embodiment
   6   cited by Dr. Kakaes, the handset uses the identity of an already configured cell, as
   7   they are using the same cell identity in this specific embodiment.
   8               276. Dr. Kakaes suggests that another (non-infringing) method available to
   9   the skilled person for establishing connection with the second cell is to use blind
  10   decoding to derive the required physical layer characteristic, without deriving it
  11   from parameters received from the first cell, as shown in his appendix below:
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  24               277. I agree with Dr. Kakaes that it could technically have been possible to
  25   use blind decoding to derive the relevant parameters directly from signals received
  26   in the SCell. This is also contemplated in section [0060] of the patent as an
  27   146
             Id.
  28
                                                          CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                                -110-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 114 of 132 Page ID
                                   #:96468


   1   alternative solution, wherein the network would guide the handset to either use
   2   blind decoding, or to use the derivation now claimed.
   3         278. However, the 3GPP specifications do not allow the use of the blind-
   4   decoding alternative (because of the drawbacks blind detection could result in), and
   5   a 4G compliant handset cannot use Dr. Kakaes’s suggested alternative. The
   6   specification is clear that a compliant handset must derive the physical layer
   7   characteristics based on information received from the PCell:
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                                                                                                         147
  13
  14         279. As a final remark, I also note that Dr. Kakaes has changed the claim
  15   language by removing the term “communication” and replacing it with
  16   “connectivity” without any justification. The claim language requires only that the
  17   handset “derive[e] (1050) at least one physical layer characteristic that is required
  18   to establish communication with the second cell.” As a result, the P32205 family is
  19   essential to the 4G standard.
  20                  23.    P33858
  21         280. The twenty-third and final patent family I will discuss is the P33858
  22   patent family. It relates to the measuring of “reference signals” for the purposes of
  23   positioning, i.e., for determining the location of the handset. In 4G, the handset
  24   measures the timing differences for downlink reference signals received from
  25   multiple distinct locations or neighboring cells, and based on such timing
  26   differences, the location can be calculated. The timing difference is caused by the
  27         147
                   EX-370.
  28
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -111-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 115 of 132 Page ID
                                   #:96469


   1   difference in propagation delay of the signals that are received by the handset.
   2           281. As mentioned before, 4G supports a variety of cell bandwidths. The
   3   inventors of P33858 then realized that it could be problematic if the bandwidth of
   4   the current serving cell is smaller than the bandwidth over which the positioning
   5   reference signals are sent. Switching between the different reception bandwidths
   6   could result in degradation of both the quality of serving cell data reception and the
   7   reference signal measurements.
   8           282. To address these effects, the inventors found a solution that alleviates
   9   these problems by receiving assistance data that indicates the reference signal
  10   bandwidth of the positioning reference signals, but wherein the handset actually
  11   measures the reference signals on the bandwidth of the serving cell, if the reference
  12   signal bandwidth is larger than the serving cell bandwidth. To facilitate the
  13   solution, the 3GPP accuracy requirements on the positioning measurements were
  14   updated to accommodate this solution.
  15           283. Ericsson provided a claim chart to TCL that outlines precisely where
  16   the claimed elements of claim 53 of U.S. 8,750,808 are practiced by the 4G
  17   standard.148 Dr. Kakaes disputes that the P33858 patent family is essential to 4G,
  18   making a variety of mistakes that I explain below.
  19           284. He makes two main arguments to support his conclusion of non-
  20   essentiality, namely (1) that the 4G standard does not require that the handset make
  21   the measurements as claimed and (2) that the standard compares 3 bandwidths
  22   instead of the 2 required by the claim. More specifically, Dr. Kakaes argues that
  23   claim 53 of U.S. 8,750,808 is not essential because the 4G standard does not require
  24   the following claim element: “if the reference-signal bandwidth indicated in the
  25   assistance data is larger than a serving-cell bandwidth, actually measure said
  26   reference signals over the serving-cell bandwidth rather than the reference-signal
  27   148
             EX-1361; EX-1376 (U.S. 8,750,808)
  28
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -112-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 116 of 132 Page ID
                                   #:96470


   1   bandwidth indicated in the assistance data.” Dr. Kakaes’s argument is below:
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  13           285. Dr. Kakaes also contends that claim 53 only compares two bandwidths
  14   (serving cell, PRS bandwidth) while the accuracy requirement depends on three
  15   (serving cell, PRS of reference cell, PRS of neighbor cell).
  16           286. For his first argument, Dr. Kakaes says that the 4G standard does not
  17   require a handset to use the minimum bandwidth (i.e., the serving-cell bandwidth),
  18   if the serving-cell bandwidth is smaller than the bandwidth of the reference signals
  19   as claimed. However, the claimed solution is the only technically reasonable way to
  20   meet the required performance in the 4G standard. In particular, it can be seen from
  21   the table cited in Ericsson’s claim chart that the measurement accuracy is not a
  22   function of the PRS bandwidth alone, but also of the serving cell bandwidth. Thus,
  23   if the serving cell bandwidth is only 6 resource blocks (RB), the accuracy
  24   requirement is independent of the PRS bandwidth, even if the PRS bandwidth
  25   would be, e.g., 50 RB. On the other hand, if the serving cell bandwidth is also 50
  26   RB, then the accuracy requirement is much tighter, as the handset can now use the
  27   149
             Kakaes Opening Statement Appendix, EX-1639 at A-P33858_4G.
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                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -113-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 117 of 132 Page ID
                                   #:96471


   1   full bandwidth of the PRS without re-tuning its receiver bandwidth.
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  13         287. That this is the only practical solution becomes clear also from 3GPP
  14   contributions, and the standard specifications were updated to specifically enable
  15   the solution covered by Ericsson’s patent. For example, the submission R4-120649
  16   for RAN4 meeting #62 includes the following:151
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  20         288. In submission R4-121017, based on which the standard update was
  21   agreed, there is the following statement:
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  23
  24
                                                                                                   152
  25
       150
  26       EX-1361.
       151
           EX-5446 (3GPP TDoc R4-120649).
  27   152
           EX-5448 (3GPP TDoc R4-121017).
  28
                                                     CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                           -114-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 118 of 132 Page ID
                                   #:96472


   1           289. Thus, even if there would be other options available, it is clear that the
   2   standard was specifically updated to enable the option as claimed by Ericsson’s
   3   patent.
   4           290. In his opening statement, Dr.Kakaes suggests a non-infringing
   5   alternative to Ericsson’s patent, wherein the UE would retune to a bandwidth which
   6   is larger than the serving cell system bandwidth to measure PRS. He provides no
   7   proof that this solution would work and deliver adequate quality, and the
   8   contributions above hints that it would be at least very demanding, if not
   9   impossible, to get such a solution to work. Thus, Ericsson’s solution is clearly one
  10   option to implement the standard, and it seems clear that it is a simpler and better
  11   option than the one Dr Kakaes suggests.
  12           291. Because there are no practical alternatives to the claimed solution, it is
  13   clear that the claim is essential to the 4G standard. In other words, although the 4G
  14   standard does not explicitly mandate that handsets must perform in the way claimed
  15   in Ericsson’s patents, it is a preferred way to meet the 4G standard’s requirements.
  16   As a result, handsets perform the measurements as claimed.
  17           292. Dr. Kakaes’s second argument is that claim 53 compares two
  18   bandwidths, but the 4G standard compares three. This has no relevance, however,
  19   to essentiality. First, the PRS information of the neighbor cell is only optionally
  20   present (when the value is different from the reference cell (“OPTIONAL – Cond
  21   NotSameAsRef2”) as shown below:
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  23                                                                                                     153

  24
  25           293. When the PRS information of the neighbor cell is not present, there is
  26   a comparison between only two bandwidths.
  27   153
             EX-1420 (3GPP TS 36.355).
  28
                                                       CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                             -115-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 119 of 132 Page ID
                                   #:96473


   1            294. Second, even if the neighbor cell and the reference cell have different
   2   PRS information (such that there are three total bandwidths), it is clear that a 4G-
   3   compliant handset must compare the (1) serving cell bandwidth to the (2) PRS
   4   bandwidth as required by the claim. The reference-signal bandwidth is then the
   5   smaller of the two PRS bandwidths, and the comparison as required by the claim
   6   necessarily takes place also under this special condition, as outlined by Dr. Kakaes.
   7   This can be seen in Table 9.1.10 of 3GPP TS 36.133, shown below:
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  19            295. Thus, the 4G standard clearly practices the disputed claim limitation:
  20   “and if the reference-signal bandwidth indicated in the assistance data is larger than
  21   a serving-cell bandwidth, actually measure said reference signals over the serving-
  22   cell bandwidth rather than the reference-signal bandwidth indicated in the
  23   assistance data.” Thus, I find that the P33858 patent family is standard essential.
  24   IV.      THE STANDARD IS NOT MODULAR
  25            296. Dr. Kakaes provides “alternatives” to patent families that he agrees are
  26   essential, in performing his contribution and essentiality analysis. His opinion is
  27   154
             EX-1423 (3GPP TS 36.133 at Table 9.1.10).
  28
                                                       CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                             -116-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 120 of 132 Page ID
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   1   that viewing alternatives on a patent-by-patent basis is appropriate because the
   2   standard is “modular.” I disagree that the 2G, 3G, and 4G standards are “modular.”
   3   I also disagree with Dr. Kakaes’s assumption that each patent can be analyzed
   4   separately by identifying an alternative solution to each patent, and comparing that
   5   alternative to the patented solution without consideration for how the replacement
   6   may affect the system otherwise, or other patented solutions within Ericsson’s
   7   patent portfolio. I will describe some examples to illustrate this.
   8         A.     P10867, P11899, P24916
   9         297. P10867, P11899 and P24916 are three patent families that relate to
  10   ARQ, and are solutions related to re-transmission protocols in 3G and 4G. Re-
  11   transmissions are used in all modern cellular protocols in order to re-transmit data
  12   packets that have been lost in the transfer. These are not the only ARQ-related
  13   patents Ericsson have, but the problems with Dr. Kakaes’s argument is apparent
  14   looking at even just these three patent families.
  15         298. P24916 is a solution related to ARQ in a 4G system. P24916 relates to
  16   the timing of status reports for requests of retransmissions, and in particular to the
  17   timing of when to construct and transmit such status reports.
  18         299. As background, in 4G, uplink transmissions are scheduled by the base
  19   stations, which means there can be delays before a status report can be transmitted
  20   (while the handset is waiting to be scheduled). If known 3G techniques had been
  21   used in 4G, the result would have been unnecessary and outdated re-transmission
  22   requests, resulting in stale re-transmissions from the base station. This is because
  23   old reports would be queued in the handset and the transmitter would then receive
  24   those outdated status reports; and retransmit data unnecessarily. The reason for such
  25   unnecessary retransmissions is that the outdated reports ask the transmitter to re-
  26   transmit data that the receiver has already received. Such retransmissions would
  27   reduce the bit-rate perceived by a handset user and load the network for no gain to a
  28   handset user.
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -117-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
Case 8:14-cv-00341-JVS-DFM Document 1919 Filed 02/23/18 Page 121 of 132 Page ID
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   1           300. In Dr. Kakaes’s “Importance” ranking of the P24916 patent family, he
   2   underestimates the importance of the technology covered by the patent, and fails to
   3   take into account how removing it would affect the performance of the cellular
   4   system as a whole. As can be seen below, Dr. Kakaes identifies that removing the
   5   feature would result in transmitting status reports more often than necessary.
   6   However, he does not quantify or explain what technical consequences too frequent
   7   reports may have:
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                                                                                                        155
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  15           301. In addition, Dr. Kakaes ignores that the reports are outdated and he
  16   does not identify the importance of avoiding the stale retransmissions that would
  17   occur in response to such outdated status reports. The load caused by the extra
  18   retransmissions would be much larger than the load caused by extra status reports:
  19   a status report size is on the order of tens of bytes, while a missing data packet size
  20   is on the order of hundreds, and even thousands, of bytes.156 Therefore, stale
  21   retransmissions have a significant effect on the data transmission performance.
  22           302. Dr. Kakaes is also wrong in his analysis of the one alternative to
  23   P24916 he proposes, and fails to consider how his alternative would affect the
  24   standard as a whole. He suggests the 3G ARQ solution described in 3GPP
  25   TS25.322 as an alternative to P24916, as can be seen below:
  26
       155
             Kakaes Opening Statement Appendix, EX-1639 at A-P24916.
  27   156
             EX-5447 (TS 36.322, sections 6.2.1.4 and 6.2.1.6).
  28
                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                            -118-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
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                                   #:96476


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  14            303. Dr. Kakaes does not offer a rigorous analysis of the consequences of
  15   applying the 3G solution to 4G, even though the inventors identified inadequacies
  16   of timer-based solutions such as the one known from TS 25.322, see US ´710, col 1
  17   lines 61 to 63; col 2 lines 21 – 48 when applied to 4G. The 3G ARQ timer-based
  18   solution must be modified with P24916 to function properly in 4G. Dr. Kakaes
  19   offers no proper comparison of his Alternative #1 (the only alternative he proposes)
  20   to the performance of the technology of P24916, as he ignores the stale re-
  21   transmissions. His statement that the patent “provides only a marginal improvement
  22   over the prior version of the standard” stands in isolation without any arguments
  23   supporting his view. He does not consider the consequences of these stale re-
  24   transmissions, or how other parts of the standard might be affected.
  25            304. But Dr. Kakaes also does not consider that his alternative solution of
  26   TS 25.322 is covered by multiple Ericsson patents, including at least P10867 and
  27   157
             Kakaes Opening Statement Appendix, EX-1639 at A-P24916.
  28
                                                       CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
                                             -119-   CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
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   1   P11899, which both read on TS 25.322 (Dr. Kakaes’s alternative). Thus, his
   2   alternative to P24916 falls within the scope of Ericsson’s P10867 and P11899
   3   patent families. These patents are all interrelated.
   4         305. Dr. Kakaes agrees that P11899 is essential, and agrees that P10867 is
   5   essential under certain claim constructions. By failing to consider Ericsson’s other
   6   essential patents, and insisting the standard is “modular,” Dr. Kakaes has failed to
   7   present an alternative that would work outside of Ericsson’s portfolio of patents.
   8         B.     P06203, P11451 and P23563
   9         306. P06203, P11451 and P23563 all relate to Mobile Assisted Handover.
  10   P06203 relates to a solution of identifying the carrier frequencies on which the
  11   handset should perform and send measurements from. P11451 relates to an event-
  12   driven solution for such measurement reports. P23563 relates to the bandwidth over
  13   which the handset should perform such measurements. All three are essential to 4G
  14   and in addition, P06203 and P11451 are also essential to 3G. Dr. Kakaes did not
  15   contest the essentiality of claims of P06203 or P11451, and for P23563, discussed
  16   above, it is my opinion that Dr. Kakaes’s non-essentiality arguments have no merit.
  17         307. When a handset is connected to the network, such mobile assisted
  18   handover is the basis for mobility in all modern cellular systems, including 2G, 3G,
  19   and 4G. The handset measures neighbor cells and sends measurements to network,
  20   and the network makes an informed decision of when and where to handover the
  21   handset. The decision by the network is based on the measurements in part, but also
  22   on the load in different cells in order to load-balance the network, so that all
  23   handsets are receiving adequate quality of service. Such mobility and load-
  24   balancing has been, and continues to be, a very active research area.
  25         308. Dr. Kakaes suggests that the standardized technology covered by
  26   P06203 could be replaced by the solution presented in the patent by Habermann et
  27   al from 1994. In particular, he presents the solution as a non-infringing alternative,
  28   since Habermann does not disclose any transmissions of measurement reports to the
                                                       CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
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   1   network:
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   7         309. Habermann relates to roaming service provider selection, and in
   8   Habermann, it is the handset that selects cells, not as in P06203, P11451 and
   9   P23563, wherein measurements are sent to the network and the network controls
  10   the handover of the handset from one cell to another. Thus, the handset in
  11   Habermann does not send reports.
  12         310. Dr. Kakaes alternative is in conflict with both 2G, 3G and 4G solutions
  13   for cell handovers (“mobility”) in connected mode. Using Habermann would
  14   require a complete re-design of the basic principles of mobility. If the handset
  15   would not report any measurements as Dr. Kakaes suggests it is virtually
  16   impossible for the network to make an informed decision of where and when to
  17   handover the handset. Dr. Kakaes does not contemplate at all about this
  18   consequence.
  19         311. Thus, connected mode mobility would have to rely on the handset
  20   selecting a cell. However, handsets do not have all relevant information to deduce
  21   which of the cells that can offer the best service, and it is likely that both call
  22   continuity and network load balancing would be significantly affected.
  23         312. But Dr. Kakaes also does not consider that his alternative for P06203
  24   is in conflict with alternatives that he suggests for P11451 and P23563.
  25         313. To replace P11451, Dr. Kakaes suggests a Nokia 3GPP submission
  26   that includes measurement reports from the handset to the network. Dr. Kakaes:
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  28
                                                        CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
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  15           314. As seen above, Dr. Kakaes has identified that his alternative to P11451
  16   includes measurement reports from the handset.
  17           315. Similarly, a proposed alternative to P23563 also uses measurements
  18   sent by the handset to the network. From Dr. Kakaes appendix on Alternative #1 for
  19   P23563:
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       158
             Kakaes Opening Statement Appendix, EX-1639 at A-P11451.
  27   159
             Id.
  28
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  11            316. The alternative to P06203 is conflicting and incompatible with the
  12   alternatives to P11451 and P23563: In the alternative system, the handset either
  13   transmits measurement reports, or it does not. But the handset cannot both transmit
  14   measurement reports and not transmit measurement reports in the same situation,
  15   depending on which patent is in the spotlight.
  16            317. These conflicts highlight the unreasonableness in Dr. Kakaes
  17   assumption of “modularity” in seeking for alternatives for Ericsson’s technology.
  18   Not only does he ignore or underestimate the consequences of replacing one
  19   technology with another and how it would affect the rest of the system, but his
  20   alternatives are also not compatible. His alternatives infringe other Ericsson patents,
  21   and his alternatives are contradictory in that one alternative includes technology
  22   that he specifically needed to remove with the other alternative.
  23   V.       CONCLUSION
  24            318. In summary, I agree with Dr. Kakaes that 45 of the 70 patent families I
  25   reviewed are standard essential. And of the remaining 23 families that are relevant
  26   to a handset analysis, I disagree with Dr. Kakaes. He used improper claim
  27   160
             Id. at A-P23563.
  28
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   1   construction, or misunderstands Ericsson’s claim charts and the standards to arrive
   2   at his incorrect conclusions. In my opinion, each of these 23 families is standard
   3   essential.
   4         319. I also disagree that the 2G, 3G, and 4G standards are “modular,” and
   5   with Dr. Kakaes’s assumption that each patent can be analyzed separately. As
   6   demonstrated by the examples I highlighted, the standard is interconnected and
   7   interrelated, and Dr. Kakaes is not proposing working alternatives when he fails to
   8   consider how his alternatives may affect the system otherwise or how they might
   9   relate to other patented solutions within Ericsson’s patent portfolio.
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  11         Executed on January 27, 2017 at Kirkkonummi
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                                                      CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
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   1   VI.    TABLE OF EXHIBITS
   2
       Exhibit No. Description
   3
       352          Claim chart for claim 1 of U.S. Patent No. 5,806,007
   4
       355          Claim chart for claim 3 of U.S. Patent No. 5,910,949
   5
       357          U.S. Patent No. 5,978,685
   6
       358          Claim chart for U.S. Patent No. 5,978,685
   7
       359          U.S. Patent No. 6,418,130
   8
       361          Claim chart for claim 1 of U.S. Patent No. 6,418,130
   9
       362          U.S. Patent No. 8,285,294
  10
       363          Claim chart for claim 1 of U.S. Patent No. 8,285,294
  11
       365          Claim chart for claim 1 of U.S. Patent No. 8,180,408
  12
       366          Claim chart for claim 1 of U.S. Patent No, 8,503,942
  13
       369          Claim chart for claim 1 of JP Patent No. 4,870,838
  14
       370          Claim chart for claim 1 of European Patent No. 2,583,398
  15
       1361         Claim chart for claim 53 of U.S. Patent No. 8,750,808
  16
  17   1376         U.S. Patent No. 8,750,808

  18   1416         "4G: LTE/LTE-Advanced for Mobile Broadband, 2nd Ed.," E.

  19                Dahlman and S. Parkvall, 2014

  20   1420         3GPP TS 36.355 V10.12.0 (2014-06) Technical Specification

  21   1423         3GPP TS 36.133 V10.18.0 (2015-03) Technical Specification

  22   1434         3GPP TS 36.213 V8.8.0 (2009-09) Technical Specification

  23   1438         3GPP TS 36.321 V9.3.0 (2010-06) Technical Specification

  24   1639         Errata Exhibit 1: Corrected Appendices to Second Supplemental
  25                Expert Report of Dr. Apostolos K. "Paul" Kakaes, dated 5/28/16
  26   4392         US Patent 5,491,718
  27   4393         US Patent 5,806,007
  28   4395         US Patent No. 6,363,058 B1
                                                    CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
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   1
       Exhibit No. Description
   2
       4399         US Patent No. 6,643,813 B1
   3
       4410         US Patent No. 8,180,408 B2
   4
       4411         US Patent No. 8,195,179 B2
   5
       4414         US Patent No. 8,503,942 B2
   6
       4417         US Patent No. 8,665,568 B2
   7
       4424         File History for US Patent 6,643,813
   8
       4427         7/8/1999 - US Patent No. 5,910,949
   9
       5067         Ericsson Claim Chart for US 6,738,379 (Internal ref: P13459 US1)
  10
       5072         Ericsson Claim Chart for US 5,806,007 (Internal ref: P06691)
  11
       5073         Ericsson Claim Chart for US 5,806,007 (Internal ref: P06691 US1)
  12
       5079         US-6,031,832 (Internal ref: P07567 US1)
  13
       5080         Ericsson Claim Chart for IN 229632 (Internal ref: P08575)
  14
       5081         Ericsson Claim Chart for US 6,363,058 (Internal ref: P08575)
  15
  16   5084         Ericsson Claim Chart for EP-1,151,572 (Internal ref: P10867 EP1)

  17   5091         Ericsson Claim Chart for US 6,643,813 (Internal ref: P10867 US)

  18   5137         Ericsson Claim Chart for CN-101473604B (Internal ref: P22430

  19                CN1)

  20   5138         Ericsson Claim Chart for EP-2,030,380 (Internal ref: P22430 EP1)

  21   5139         Ericsson Claim Chart for JP-4,903,861 (Internal ref: P22430JP1)

  22   5140         Ericsson Claim Chart for US 8,243,666 (Internal ref: P22430 US1)

  23   5146         Ericsson Claim Chart for CN101595746B (Internal ref:
  24                P23563CN1)
  25   5148         Ericsson Claim Chart for US8503942B1 (Internal ref: P23563US1)
  26   5150         Ericsson Claim Chart for US-8,675,568 (Internal ref: P23985 US2)
  27   5158         Ericsson Claim Chart for US-8195179 (Internal ref: P24557 US1) ]
  28   5169         Ericsson Claim Chart for CN 101849366 B (Internal ref: P25005
                                                   CORRECTED WITNESS STATEMENT OF MATS SÅGFORS;
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   1
       Exhibit No. Description
   2
                    CN1)
   3
       5183         Ericsson Claim Chart for EP 2,260,667 (Internal ref: P25949 EP1)
   4
       5185         Ericsson Claim Chart for US 8582514B2 (Internal ref: P25990US2)
   5
       5191         Ericsson Claim Chart for EP 2 316 184 (Internal ref: P27011EP1)
   6
       5199         Ericsson Claim Chart for EP-2449844 (Internal ref: P29482 EP1)
   7
       5202         Ericsson Claim Chart for US 8,543,125 (Internal ref: P29482 US2)
   8
       5209         Ericsson Claim Chart for US-8879736 (Internal ref: P23034 US2)
   9
       5211         Ericsson Claim Chart for US-6,493,552 (Internal ref: P08769 US1)
  10
       5214         Ericsson Claim Chart for US-5,978,685 (Internal ref: P09040 US1)
  11
                    3GPP
  12
       5413         File History for U.S. Patent No. 5,806,007
  13
       5414         3GPP TS 03.60 V7.4.0 (2000-03) Technical Specification
  14
       5415         3GPP TS 03.64 V8.12.0 (2004-04) Technical Specification
  15
       5416         U.S. Patent No. 6,493,552
  16
  17   5417         U.S. Patent No. 6,738,379

  18   5418         3GPP TS 36.300 V8.12.0 (2010-03) Technical Specification

  19   5419         U.S. Patent No. 6,031,832

  20   5420         3GPP TS 25.301 V6.0.0 (2003-12) Technical Specification

  21   5421         3GPP TS 24.301 V8.10.0 (2011-06) Technical Specification

  22   5422         3GPP TS 36.304 V8.10.0 (2011-06) Technichal Specification

  23   5423         Patent EP 1,151,572
  24   5424         3GPP TS 24.011 V8.2.0 (2009-06) Technical Specification
  25   5425         3GPP TS 33.401 V8.8.0 (2011-06) Technical Specification
  26   5426         3GPP TS 25.322 V6.0.0 (2003-12) Technical Specification
  27   5427         3GPP TS 36.323 V8.6.0 (2009-06) Technical Specification
  28   5428         3GPP TS 36.211 V8.9.0 (2010-01) Technical Specification
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   1
       Exhibit No. Description
   2
       5429         U.S. Patent No. 6,236,674 (Morelli)
   3
       5430         U.S. Patent No. 8,243,666
   4
       5431         Patent EP 2,030,380
   5
       5432         Patent CN 101473604B
   6
       5433         Patent JP 4,903,861
   7
       5434         U.S. Patent No. 8,879,736
   8
       5435         3GPP TS 36.214 V8.7.0 (2009-10) Technical Specification
   9
       5436         Patent JP 4870838
  10
       5437         3GPP TS 36.213 V10.10.0 (2013-07) Technical Specification
  11
       5438         3GPP TS 36.321 V10.9.0 (2013-07) Technical Specification
  12
       5439         U.S. Patent No. 8,582,514
  13
       5440         Patent EP 2,316,184
  14
       5441         U.S. Patent No. 8,543,125
  15
  16   5442         Patent EP 2,449,844

  17   5443         3GPP TSG-RAN2 Meeting #68, R2-097263, Jeju, South Korea, 9-

  18                13 November 2009 (CR 0410 in RP-091346)

  19   5444         Patent EP 2,583,398

  20   5445         3GPP TS 36.331 V10.7.0 (2012-11) Technical Specification

  21   5446         3GPP TSG-RAN WG4 Meeting #62, R4-120649, Dresden,

  22                Germany, 6-10 February, 2012

  23   5447         3GPP TS 36.322 V13.2.0 (2016-06) Technical Specification

  24   5448         3GPP TSG-RAN4 Meeting #62, R4-121017, Dresden, Germany,
  25                06-10 February, 2012
  26   5456         3GPP TS 36.321 v8.11.0 (2012-01) Technical Specification
  27   5457         Patent EP 2,260,667
  28
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   1                              CERTIFICATE OF SERVICE
   2           Pursuant to Rule 5-3 of the Local Civil Rules of the United States District
   3   Court for the Central District of California, I hereby certify under penalty of perjury
   4   under the laws of the United States of America that on January 27, 2017, a true
   5   copy of the above document was filed through the Court’s Electronic Case Filing
   6   system and served by that system upon all counsel of record registered for the
   7   system and deemed to have consented to electronic service in the above-captioned
   8   case.
   9
  10   Dated: January 27, 2017              CROWELL & MORING LLP
  11                                        /s/ John S. Gibson
  12                                        John S. Gibson
  13                                        Attorneys for ERICSSON INC. AND
                                            TELEFONAKTIEBOLAGET LM
  14                                        ERICSSON
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                                                                                  CERTIFICATE OF SERVICE;
                                                    CASE NOS. 8:14-cv-00341-JVS-DFMx/2:15-cv-02370-JVS-DFMx
